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                  EXHIBIT 8B
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                   Deposition of:  Elsebeth Aagaard Taken On:                          August 23, 2019
                   PLAINTIFF’S DESIGNATIONS
                   This witness is not available to testify live & will be called by videotaped deposition.

Start -      Finish –            Defendants' Objections                          Defendants' Counter Designations            Plaintiff's Objections to
Page/Line    Page/Line                                                                                                  Defendants' Counter Designations
7:01        7:15                                                             24:23-25:7
10:08       10:25               Foundation; Facts; Misleading;               25:10-26:2
                                Prejudicial; Irrelevant; Collateral; Other
                                Claims
11:02       11:07                                                            147:24
22:12       22:18                                                            148:1 starts with “I know” – 148:4

24:1        24:3                Misleading; Prejudicial; Foundation          152:5-9

28:10       28:23               Misleading; Prejudicial; Irrelevant;         153:11-13
                                Collateral; Vague; Foundation

29:07       29:12               Misleading; Prejudicial; Irrelevant;         154:23-155:6                           Attorney colloquoy; Irrelevant; Asked
                                Collateral; Vague                                                                   and Answered; Cumulative
95:19       95:20               Misleading; Prejudicial; Irrelevant;         155:8-17                               Irrelevant; Asked and Answered;
                                Hearsay                                                                             Cumulative
95:22       96:18               Misleading; Prejudicial; Irrelevant;         193:16-22                              Attorney colloquoy; Irrelevant;
                                Hearsay                                                                             Prejudicial; Misleading; Collateral
97:12       97:16               Misleading; Prejudicial; Irrelevant;         193:24-195:9                           Irrelevant; Prejudicial; Misleading;
                                Collateral; Facts                                                                   Collateral
98:14       99:03               Misleading; Prejudicial; Collateral;         195:11-12                              Irrelevant; Prejudicial; Misleading;
                                Irrelevant; Hearsay; Misstates testimony;                                           Collateral
                                Foundation
99:05       99:10               Misleading; Prejudicial; Collateral;
                                Irrelevant; Hearsay; Misstates testimony;
                                Foundation
105:20      106:05              Misleading; Prejudicial; Irrelevant;
                                Collateral; Calls for Legal Conclusion;
                                Foundation
106:07      106:12              Misleading; Prejudicial; Irrelevant;
                                Collateral; Calls for Legal Conclusion;
                                Foundation
106:14      106:16              Misleading; Prejudicial; Irrelevant;
                                Collateral; Calls for Legal Conclusion;
                                Foundation
108:04      108:06              Misleading; Prejudicial; Irrelevant;
                                Collateral; Calls for Legal Conclusion;
                                Vague; Foundation

108:08      109:08              Misleading; Prejudicial; Irrelevant;
                                Collateral; Calls for Legal Conclusion;
                                Vague; Foundation

109:14      109:22              Misleading; Prejudicial; Irrelevant;
                                Collateral; Calls for Legal Conclusion;
                                Vague; Foundation

109:24      110:01              Misleading; Prejudicial; Irrelevant;
                                Collateral; Calls for Legal Conclusion;
                                Vague; Foundation

110:09      110:25              Misleading; Prejudicial; Irrelevant;
                                Collateral; Foundation

111:20      112:05              Misleading; Foundation; Prejudicial;
                                Irrelevant; Collateral; Unrelated; Facts

112:09      113:24              Misleading; Foundation; Prejudicial;
                                Irrelevant; Collateral; Unrelated; Facts

141:04      141:05              Misleading; Prejudicial; Irrelevant;
                                Collateral; Hearsay; Foundation;
                                Incomplete
141:07      141:19              Misleading; Prejudicial; Irrelevant;
                                Collateral; Hearsay; Foundation;
                                Incomplete
142:01      142:07              Misleading; Prejudicial; Irrelevant;
                                Collateral; Hearsay; Foundation;
                                Incomplete
142:13      143:09              Misleading; Prejudicial; Irrelevant;
                                Collateral; Hearsay; Foundation;
                                Incomplete
                                Case 6:20-cv-00831-RBD-GJK Document 218-9 Filed 05/13/21 Page 3 of 51 PageID 29003




143:18   143:20        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation

143:22   144:09        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation

144:11   145:07        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation

145:09   145:15        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation

147:10   147:23        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation;
                       Incomplete; Hypothetical; Vague

148:01   148:01        Misleading; Prejudicial; Irrelevant;
         “documents”   Collateral; Hearsay; Foundation;
                       Incomplete; Hypothetical; Vague

148:05   148:12        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation; Facts;
                       Hypothetical; Unrelated; Vague

148:14   148:14        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation; Facts;
                       Hypothetical; Unrelated; Vague

150:10   150:11        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation

150:13   150:23        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation

151:06   151:25        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation

153:02   153:10        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation;
                       Incomplete
153:14   153:24        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation;
                       Incomplete
154:02   154:20        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation

154:22   154:22        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation

155:18   156:20        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation

156:22   156:22        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation

157:04   158:10        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation; Vague;
                       Speculation; Facts; Hypothetical;
                       Argumentative

158:12   158:24        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation; Vague;
                       Speculation; Facts; Hypothetical;
                       Argumentative

159:01   160:10        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation; Vague;
                       Speculation; Facts; Hypothetical;
                       Argumentative

160:12   160:20        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation; Vague;
                       Speculation; Facts; Hypothetical;
                       Argumentative

160:22   161:03        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation; Vague;
                       Speculation; Facts; Hypothetical;
                       Argumentative

161:05   161:11        Misleading; Prejudicial; Irrelevant;
                       Collateral; Hearsay; Foundation; Vague;
                       Speculation; Facts; Hypothetical;
                       Argumentative
                            Case 6:20-cv-00831-RBD-GJK Document 218-9 Filed 05/13/21 Page 4 of 51 PageID 29004




161:13   161:23    Misleading; Prejudicial; Irrelevant;
                   Collateral; Hearsay; Foundation; Vague;
                   Speculation; Facts; Hypothetical;
                   Argumentative

161:25   162:01    Misleading; Prejudicial; Irrelevant;
                   Collateral; Hearsay; Foundation; Vague;
                   Speculation; Facts; Hypothetical;
                   Argumentative

165:04   165:21    Misleading; Prejudicial; Irrelevant;
                   Collateral; Hearsay; Foundation; Vague;
                   Argumentative

165:23   166:02    Misleading; Prejudicial; Irrelevant;
                   Collateral; Hearsay;
                   Foundation; Vague; Argumentative

167:07   167:20    Misleading; Prejudicial; Irrelevant;
                   Collateral; Hearsay; Foundation; Vague;
                   Facts; Speculation; Argumentative;
                   Claims; Calls for Legal Conclusion;
                   Unrelated

167:22   168:18    167:22
                   Misleading; Prejudicial; Irrelevant;
                   Collateral; Hearsay; Foundation; Vague;
                   Facts; Speculation; Argumentative;
                   Claims; Calls for Legal Conclusion;
                   Unrelated
                   167:23-168:18
                   Misleading; Prejudicial; Irrelevant;
                   Collateral; Facts; Hearsay; Foundation;
                   Speculation; Argumentative



168:20   169:07    Misleading; Prejudicial; Irrelevant;
                   Collateral; Facts; Hearsay; Foundation;
                   Speculation; Argumentative

169:09   169:21    Misleading; Prejudicial; Irrelevant;
                   Collateral; Hearsay; Foundation;
                   Speculation; Argumentative

169:23   170:01    Misleading; Prejudicial; Irrelevant;
                   Collateral; Hearsay; Foundation;
                   Speculation; Argumentative

173:23   174:04    Misleading; Prejudicial; Irrelevant;
                   Collateral; Facts; Hearsay; Foundation;
                   Speculation; Argumentative; Hypothetical;
                   Calls for Legal Conclusion


174:06   174:12    Misleading; Prejudicial; Irrelevant;
                   Collateral; Facts; Hearsay; Foundation;
                   Speculation; Argumentative; Hypothetical;
                   Calls for Legal Conclusion


174:14   17:7:07   174:14
                   Misleading; Prejudicial; Irrelevant;
                   Collateral; Facts; Hearsay; Foundation;
                   Speculation; Argumentative; Hypothetical;
                   Calls for Legal Conclusion
                   174:15-177:7
                   Misleading; Prejudicial; Irrelevant;
                   Collateral; Facts; Hearsay; Foundation;
                   Speculation; Argumentative; Hypothetical




177:09   178:22    177:12-178:22
                   Misleading; Prejudicial; Irrelevant;
                   Collateral; Facts; Hearsay; Foundation;
                   Speculation; Argumentative; Hypothetical


178:24   178:24    Misleading; Prejudicial; Irrelevant;
                   Collateral; Facts; Hearsay; Foundation;
                   Speculation; Argumentative; Hypothetical
                           Case 6:20-cv-00831-RBD-GJK Document 218-9 Filed 05/13/21 Page 5 of 51 PageID 29005




181:03   182:01   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical;
                  Vague

182:03   182:10   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical;
                  Vague

182:12   182:12   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical;
                  Vague

185:16   185:19   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical;
                  Unrelated

185:21   186:01   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts;
                  Hearsay; Foundation; Speculation;
                  Argumentative; Hypothetical; Unrelated

186:03   186:10   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical;
                  Unrelated

186:12   186:20   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical;
                  Unrelated

186:22   187:02   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical;
                  Unrelated

187:09   187:11   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical;
                  Misstates testimony


187:13   187:18   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical;
                  Misstates testimony


187:20   187:22   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical;
                  Misstates testimony


188:09   188:12   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical


188:14   188:25   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical


189:02   189:06   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical


190:09   190:18   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical;
                  Calls for legal conclusion; Attorney
                  Testimony/Commentary


190:20   191:10   Misleading; Prejudicial; Irrelevant;
                  Collateral; Facts; Hearsay; Foundation;
                  Speculation; Argumentative; Hypothetical;
                  Calls for legal conclusion; Attorney
                  Testimony/Commentary
                                       Case 6:20-cv-00831-RBD-GJK Document 218-9 Filed 05/13/21 Page 6 of 51 PageID 29006




191:12       191:16          Misleading; Prejudicial; Irrelevant;
                             Collateral; Facts; Hearsay; Foundation;
                             Speculation; Argumentative; Hypothetical;
                             Calls for legal conclusion; Attorney
                             Testimony/Commentary


191:18       191:21          Misleading; Prejudicial; Irrelevant;
                             Collateral; Facts; Hearsay; Foundation;
                             Speculation; Argumentative; Hypothetical;
                             Calls for legal conclusion; Attorney
                             Testimony/Commentary


191:23       191:23          Misleading; Prejudicial; Irrelevant;
                             Collateral; Facts; Hearsay; Foundation;
                             Speculation; Argumentative; Hypothetical;
                             Calls for legal conclusion; Attorney
                             Testimony/Commentary


192:13       192:14          Misleading; Prejudicial; Irrelevant;
                             Collateral; Facts; Hearsay; Foundation;
                             Speculation; Argumentative; Hypothetical;
                             Vague

192:19       193:04          Misleading; Prejudicial; Irrelevant;
                             Collateral; Facts; Hearsay; Foundation;
                             Speculation; Argumentative; Hypothetical;
                             Vague

                Deposition of:         Thomas Broome Taken On:                     July 30, 2019
                PLAINTIFF’S DESIGNATIONS
                This witness is not available to testify live & will be called by videotaped deposition.

 Start -        Finish –         Defendants' Objections                          Defendants' Counter Designations            Plaintiff's Objections to
 Page/Line      Page/Line                                                                                               Defendants' Counter Designations
8:07           8:11                                                       13:10-12
11:06          11:08            Irrelevant; Prejudicial; Collateral       15:25-16:20

11:13          11:17            Irrelevant; Prejudicial Collateral        18:5 starts with “We” – 10

11:21          11:24            Irrelevant; Prejudicial; Collateral       18:16-19                                  Irrelevant

12:05          12:14            Irrelevant; Prejudicial; Collateral       29:7-8                                    Irrelevant; Improper Designation (No
                                                                                                                    question posed)
13:13          13:15            Irrelevant; Prejudicial; Collateral       30:16-18                                  Irrelevant

15:05          15:18                                                      30:20-21                                  Irrelevant
17:17          18:05            18:1-5                                    31:5-11                                   Irrelevant
                                Incomplete
19:14          19:25                                                      31:13-17                                  Irrelevant
23:08          24:16            23:25-24:16                               32:20-33:5                                Irrelevant
                                Irrelevant; Prejudicial Collateral

25:08          25:09                                                      36:10:12                                  Irrelevant; Collateral; Asked and Answered

26:25          27:10            Irrelevant; Hearsay; Misleading;          39:1-20                                   Irrelevant; Collateral; Misleading;
                                Prejudicial; Collateral                                                             Prejudicial; Speculative; Foundation
28:13          28:16            Irrelevant; Hearsay; Misleading;          39:22-24                                  Irrelevant; Collateral; Misleading;
                                Prejudicial; Collateral                                                             Prejudicial; Speculative; Foundation

28:19          29:06            Irrelevant; Hearsay; Misleading;          40:1-4                                    Irrelevant; Collateral; Misleading;
                                Prejudicial; Collateral                                                             Prejudicial; Speculative; Foundation

29:09          29:20            Irrelevant; Hearsay; Misleading;          44:12-15                                  Calls for Hearsay
32:06          32:17            P   j di i l Hearsay; Misleading;
                                Irrelevant;                               108:4-8
                                Prejudicial; Collateral

33:20          34:10            Irrelevant; Hearsay; W/in; Misleading;    108:15-17
                                Prejudicial; Collateral

34:12          34:16            Irrelevant; Hearsay; W/in; Misleading;    108:19-23
                                Prejudicial; Collateral

35:14          36:01            Irrelevant; Hearsay; W/in; Misleading;    120:23-25
                                Prejudicial; Collateral

36:03          36:04            Irrelevant; Hearsay; W/in; Misleading;    122:14-15
                                Prejudicial; Collateral

36:06          36:09            Irrelevant; Hearsay; W/in; Misleading;    137:23-138:7
                                Prejudicial; Collateral
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38:07    38:16    Irrelevant; Hearsay; W/in; Misleading;   141:18-23                         Misleading; Prejudicial; Speculative;
                  Prejudicial; Speculation                                                   Foundation

38:18    38:19    Irrelevant; Hearsay; W/in; Misleading;   141:25-142:8                      Misleading; Prejudicial; Speculative;
                  Prejudicial; Speculation                                                   Foundation

38:21    38:22    Irrelevant; Hearsay; W/in; Misleading;   169:19-24
                  Prejudicial; Speculation

40:05    40:18    Irrelevant; Hearsay; W/in; Misleading;   188:25-189:5                      Irrelevant; Collateral
                  Prejudicial; Collateral

40:20    40:22    Irrelevant; Hearsay; W/in; Misleading;   189:7-9                           Irrelevant; Collateral
                  Prejudicial; Collateral

40:24    41:13    Irrelevant; Hearsay; W/in; Misleading;   190:22 starts with “I’ – 191:3    Misleading; Prejudicial; Speculative;
                  Prejudicial; Collateral                                                    Foundation

41:15    41:19    Irrelevant; Hearsay; W/in; Misleading;   191:12-16                         Misleading; Prejudicial; Speculative;
                  Prejudicial; Collateral                                                    Foundation

41:21    42:10    Irrelevant; Hearsay; W/in; Misleading;   191:18-22                         Misleading; Prejudicial; Speculative;
                  Prejudicial; Collateral                                                    Foundation; Nonresponsive

44:16    45:01    Irrelevant; Collateral; Misleading;      205:11-20
                  Prejudicial; Hearsay; Speculation

45:03    45:10    Irrelevant; Collateral; Misleading;      205:22-23
                  Prejudicial; Hearsay; Speculation

45:18    46:20    Irrelevant; Collateral; Misleading;      209:3-11                          Irrelevant; Asked and Answered
                  Prejudicial; Hearsay; W/in

47:16    47:19    Irrelevant; Collateral; Misleading;      209:13                            Irrelevant; Asked and Answered
                  Prejudicial; Foundation; Vague; Facts

47:21    47:23    Irrelevant; Collateral; Misleading;      210:3-4                           Improper Designation (No question posed);
                  Prejudicial; Foundation; Vague; Facts                                      Irrelevant; Cumulative; Asked and
                                                                                             Answered
47:25    48:05    Irrelevant; Collateral; Misleading;      213:15-19
                  Prejudicial; Foundation; Vague; Facts

48:07    48:10    Irrelevant; Collateral; Misleading;      216:13-16                         Incomplete/Lacks Proper Context (see
                  Prejudicial; Foundation; Vague; Facts                                      216:17-19); Vague; Misleading

48:12    49:23    Irrelevant; Collateral; Misleading;      229:21-230:2                      Irrelevant
                  Prejudicial; Foundation; Vague; Facts

49:25    50:01    Irrelevant; Collateral; Misleading;      245:12-24                         Irrelevant
                  Prejudicial; Foundation; Vague; Facts

50:03    50:08    Irrelevant; Collateral; Misleading;      246:7-15
                  Prejudicial; Foundation; Vague; Facts

50:10    50:12    Irrelevant; Collateral; Misleading;      248:20-22
                  Prejudicial; Foundation; Vague; Facts

50:15    51:01    Irrelevant; Collateral; Misleading;      248:24-249:12
                  Prejudicial; Foundation; Vague; Facts;
                  Speculation

51:03    51:05    Irrelevant; Collateral; Misleading;      253:8-11                          Misleading; Prejudicial; Speculative;
                  Prejudicial; Foundation; Vague; Facts                                      Foundation

51:18    52:11    51:18-52:6                               268:16-271:8                      Attorney Colloquy [specific to 268:16-21];
                  Irrelevant; Collateral; Misleading;
                  Prejudicial; Facts                                                         Cumulative; Asked and Answered [specific
                  52:7-11                                                                    to 268:22-271:2];
                  Irrelevant; Collateral; Misleading;
                  Prejudicial; Facts; Vague                                                  Irrelevant; Prejudicial; Collateral; Subject to
                                                                                             ruling on Colopalst's MIL 6 [specific to
                                                                                             271:3-8]


52:13    52:16    Irrelevant; Collateral; Misleading;      271:24-272:2                      Irrelelvant
                  Prejudicial; Facts
52:18    52:19    Irrelevant; Collateral; Misleading;      272:10-12
                  Prejudicial; Facts; Vague

52:22    53:16    Irrelevant; Collateral; Misleading;      272:17-273:7                      Cumulative; Asked and Answered
                  Prejudicial; Facts
102:07   102:08   Irrelevant; Misleading; Prejudicial      273:15-274:1                      Irrelevant; Asked and Answered

102:10   103:01   Irrelevant; Misleading; Prejudicial      274:9 starts with “Now” – 275:2   Irrelevant; Collateral
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105:20   105:25   Irrelevant; Misleading; Prejudicial;   275:6-276:5                         Irrelevant; Collateral
                  Hearsay
106:03   107:10   Irrelevant; Misleading; Prejudicial;   276:11 starts with “Now” – 279:21   Irrelevant; Prejudicial; Collateral; [specific
                  Compound; Speculation                                                      to 276:11-277:1];

                                                                                             Irrelelvant; Cumulative; Asked and
                                                                                             Answered [specific to 277:2-279:21]

107:12   107:13   Irrelevant; Misleading; Prejudicial;   280:14-284:3                        Irrelevant; Cumulative; Asked and
                  Compound; Speculation                                                      Answered

                                                                                             Calls for Narrative [specific to 284:3]
107:15   107:20   Irrelevant; Misleading; Prejudicial;   284:5-16                            Irrelevant; Cumulative; Asked and
                  Compound; Speculation                                                      Answered; Narrative

107:22   108:02   Irrelevant; Misleading; Prejudicial;   284:18-285:17                       Attorney Colloquy [specific to 284:18-19];
                  Compound; Speculation
                                                                                             Improper Designation (No question posed)
                                                                                             [specific to 284:18-24];

                                                                                             Irrelevant; Prejudicial; Cumuative;
                                                                                             Misleading [specific to 284:25-285:17]


108:09   108:14   Irrelevant; Misleading; Prejudicial;
                  Hearsay
110:18   111:06
113:08   115:05   113:8-14
                  Irrelevant; Misleading; Prejudicial;
                  Hearsay
                  113:15-114:24
                  Irrelevant; Misleading; Prejudicial
                  114:25-115:5
                  Irrelevant; Misleading; Prejudicial;
                  Hearsay; Facts; Foundation




115:07   115:10   Irrelevant; Misleading; Prejudicial;
                  Hearsay; Facts; Foundation

115:24   116:12   115:24-116:11
                  Irrelevant; Prejudicial; Collateral;
                  Hearsay
                  116:4-12

                  Irrelevant; Prejudicial; Collateral;
                  Hearsay; Foundation; Facts; Vague

116:14   116:17   Irrelevant; Prejudicial; Collateral;
                  Hearsay
118:08   118:24   118:8-13
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Facts; Hearsay
                  118:14-16
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Facts
                  118:17-21
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Facts; Hearsay
                  118:22-24
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Facts




119:01   119:16   Irrelevant; Prejudicial; Misleading;
                  Collateral; Facts; Hearsay

119:18   119:20   Irrelevant; Prejudicial; Misleading;
                  Collateral; Facts; Hearsay

119:22   120:22   119:22-120:5
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Facts; Hearsay
                  120:6-22
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Facts
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121:01   122:11   121:1-17
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Facts 121:18-122:1
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Facts; Hearsay
                  122:2-11
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Facts


135:10   135:11   Irrelevant; Prejudicial; Misleading;
                  Collateral
135:14   136:07   135:14-19
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Counsel
                  135:20-136:7
                  Irrelevant; Prejudicial; Misleading;
                  Collateral


136:09   136:09   Irrelevant; Prejudicial; Misleading;
                  Collateral
137:03   137:21   Hearsay; Collateral
168:23   168:24
169:02   169:18   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation;
                  Hearsay

169:25   170:14   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation;
                  Hearsay

170:16   170:17   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation

170:19   172:09   170:19-22
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation
                  170:23-172:3
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation;
                  Hearsay
                  172:4-9
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation;
                  Hearsay; Facts

172:11   172:19   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation

172:21   172:23   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation;
                  Facts
173:01   173:01   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation;
                  Facts
173:04   173:04   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation;
                  Facts
173:06   173:06   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation;
                  Facts

173:08   173:11   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation;
                  Hearsay; Facts

173:13   173:13   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation;
                  Hearsay; Facts

188:12   188:22   Irrelevant; Prejudicial; Misleading;
                  Collateral; Hearsay

189:11   189:14   Irrelevant; Prejudicial; Misleading;
                  Collateral; Facts
189:16   189:17   Irrelevant; Prejudicial; Misleading;
                  Collateral; Facts
189:19   190:03   Irrelevant; Prejudicial; Misleading;
                  Collateral; Hearsay

190:16   190:20   Hearsay; Speculation; Foundation;
                  Incomplete; Misleading

190:22   190:22
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202:13   202:14
205:03   205:10   Irrelevant; Prejudicial; Collateral

205:25   206:03   Irrelevant; Prejudicial; Collateral

206:24   207:07   Irrelevant; Prejudicial; Collateral

207:13   207:19   Irrelevant; Prejudicial; Collateral

207:22   208:05   207:22-208:3
                  Irrelevant; Prejudicial; Collateral

                  208:4-5
                  Irrelevant; Prejudicial; Collateral;
                  Misstate Document
208:07   208:08   Irrelevant; Prejudicial; Collateral

208:10   208:15   208:12-16
                  Irrelevant; Prejudicial; Collateral;
                  Inadequate; Speculation

208:17   208:17
213:20   214:02   Irrelevant; Prejudicial; Collateral;
                  Inadequate
214:04   214:04   Irrelevant; Prejudicial; Collateral;
                  Inadequate
214:06   214:14   Irrelevant; Prejudicial; Collateral;
                  Inadequate
226:05   226:08   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Facts; Vague

226:10   226:12   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Facts; Vague

226:14   227:02   226:14-18
                  Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Facts; Vague;
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                  226:19-22
                  Irrelevant; Prejudicial; Misleading;
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227:04   229:20   227:4-229:2
                  Irrelevant; Prejudicial; Misleading;
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                  229:3-229:20
                  Irrelevant; Prejudicial; Misleading;
                  FDA; Inadequate; AER
230:03   231:01   Irrelevant; Prejudicial; Misleading;
                  FDA; Inadequate
231:03   231:07   Irrelevant; Prejudicial; Misleading;
                  FDA; Inadequate
231:09   232:07   Irrelevant; Prejudicial; Misleading;
                  FDA; Inadequate
232:09   232:16   Irrelevant; Prejudicial; Misleading;
                  FDA; Inadequate
232:18   232:23   Irrelevant; Prejudicial; Misleading;
                  FDA; Inadequate
232:25   233:01   Irrelevant; Prejudicial; Misleading;
                  FDA; Inadequate
233:03   233:07   Irrelevant; Prejudicial; Misleading;
                  FDA; Inadequate
233:09   233:14   Irrelevant; Prejudicial; Misleading;
                  FDA; Inadequate
233:16   234:07   233:16-234:4
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                  FDA; Inadequate
                  234:5-7
                  Irrelevant; Prejudicial; Misleading;
                  FDA; Inadequate; Hearsay


234:10   235:02   234:10-23
                  Irrelevant; Prejudicial; Misleading;
                  FDA; Inadequate
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                  Irrelevant; Prejudicial; Misleading;
                  FDA; Inadequate; Hearsay
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235:04        235:05       Irrelevant; Prejudicial; Misleading;
                           FDA; Inadequate
235:07        235:24       Irrelevant; Prejudicial; Misleading;
                           FDA; Inadequate
236:02        237:03       Irrelevant; Prejudicial; Misleading;
                           FDA; Inadequate
237:05        237:10       Irrelevant; Prejudicial; Misleading;
                           FDA; Inadequate
237:12        237:15       Irrelevant; Prejudicial; Misleading;
                           FDA; Inadequate
244:21        244:24
245:01        245:01
245:04        245:11       Irrelevant; Collateral; Prejudicial;
                           Misleading
245:25        246:06       Irrelevant; Collateral; Prejudicial;
                           Misleading
246:16        246:20       Irrelevant; Collateral; Prejudicial;
                           Misleading
246:23        248:01       Irrelevant; Collateral; Prejudicial;
                           Misleading
248:03        248:03       Irrelevant; Collateral; Prejudicial;
                           Misleading
248:05        248:09       Irrelevant; Collateral; Prejudicial;
                           Misleading
248:11        248:11       Irrelevant; Collateral; Prejudicial;
                           Misleading
248:13        248:19       Irrelevant; Collateral; Prejudicial;
                           Misleading
249:13        249:16       Irrelevant; Collateral; Prejudicial;
                           Misleading
249:18        249:22       Irrelevant; Collateral; Prejudicial;
                           Misleading
252:13        253:07       Irrelevant; Collateral; Prejudicial;
                           Misleading
254:14        254:25       Irrelevant; Collateral; Prejudicial;
                           Misleading
255:02        255:05       Irrelevant; Collateral; Prejudicial;
                           Misleading
                                 Deposition of:          ErinMarie Carrick Taken On:                   September 18, 2019
                                                            PLAINTIFF’S DESIGNATIONS
                                    This witness is not available to testify live & will be called by videotaped deposition.

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                          Prejudicial
24:10        24:15                                                   19:19-20:1                                            Irrelevant
41:13        42:06                                                   20:9-11                                               Irrelevant
43:12        43:18        Collateral; Irrelevant; Misleading;        20:19 starts with “So” – 24                           Irrelevant; Collateral; Prejudicial
                          Prejudicial
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56:22        56:25        Collateral; Irrelevant; Misleading;        24:4-9                                                Misleading; Speculative
                          Prejudicial
64:07        65:09        Collateral; Irrelevant;                    25:3-18                                               Irrelevant; Collateral; Foundation
                          Misleading; Prejudicial; Cumulative

68:24        69:17        Collateral; Irrelevant; Misleading;        37:2-8                                                Irrelelvant; Collateral; Cumulative
                          Prejudicial; Cumulative; Vague

85:22        85:23        Collateral; Irrelevant; Misleading;        43:8-11
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85:25        86:02        Collateral; Irrelevant; Misleading;        65:10-19
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86:09        86:09        Collateral; Irrelevant; Misleading;        99:24-100:15 through “great”                          Irrelevant
                          Prejudicial; Vague; Foundation
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86:11        86:12    Collateral; Irrelevant; Misleading;     113:25-114:3                            Misleading; Speculative; Prejudicial;
                      Prejudicial; Vague; Foundation                                                  Vague/Ambiguous; Foundation

86:19        86:19    Collateral; Irrelevant; Misleading;     116:14 starts with “So” – 117:8         Misleading; Prejudicial; Foundation;
                      Prejudicial; Vague; Foundation                                                  Vague/Ambiguous; Foundation

86:21        87:14    Collateral; Irrelevant; Misleading;     124:9 starts with “here” – 125:8        Misleading; Speculative; Prejudicial;
                      Prejudicial; Vague; Speculation                                                 Vague/Ambiguous; Foundation

87:16        87:16    Collateral; Irrelevant; Misleading;     140:12-141:12                           Misleading; Prejudicial
                      Prejudicial; Vague; Speculation

88:06 “As”   88:11    Collateral; Irrelevant; Misleading;     148:22-25
                      Prejudicial
97:15        97:16    Collateral; Irrelevant; Misleading;     162:21-163:5
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97:18        97:25    Collateral; Irrelevant; Misleading;     163:15-164:6                            Misleading; Speculative; Foundation
                      Prejudicial; Incomplete

98:20 “So”   98:24    Collateral; Irrelevant; Misleading;     164:8                                   Misleading; Speculative; Foundation
                      Prejudicial
99:12        99:23    Collateral; Irrelevant; Misleading;    164:11-16                                Irrelevant
                      Prejudicial
100:15       102:07   Collateral; Irrelevant; Misleading;    170:7-14                                 Improper Designation (No question
                      Prejudicial; Hearsay, W/in; Foundation                                          posed); Irrelevant; Cumulative;
                                                                                                      Collateral; Prejudicial
103:16       103:17   Collateral; Misleading; Prejudicial;    174:19-22
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                      Vague; W/in

105:25       106:25   Collateral; Misleading; Prejudicial;    174:24
                      Foundation; Hearsay; Lay; Irrelevant;
                      Vague; W/in

108:05       108:08   Collateral; Irrelevant; Misleading;     175:1-17                                FDA [specific to 175:16 - "I'm not the
                      Prejudicial; Foundation; Vague                                                  FDA")]

108:10       108:11   Collateral; Irrelevant; Misleading;     186:19-187:3
                      Prejudicial; Foundation; Vague

110:07       111:06   Collateral; Irrelevant; Misleading;     212:10-24                               Irrelevant
                      Prejudicial; Compound; Hearsay;
                      Unrelated; Vague; W/in

112:06       112:21   Collateral; Irrelevant; Misleading;     221:11-19
                      Prejudicial; Hearsay; Vague; W/in

114:04       114:20   Collateral; Irrelevant; Misleading;     223:23-224:3                            Irrelevant; Misleading; Collateral
                      Prejudicial; Hearsay; Vague; W/in;
                      Foundation

121:22       122:02   Collateral; Irrelevant; Misleading;     225:13-226:10                           Misleading; Confusing; Collateral;
                      Prejudicial; Hearsay; Vague; W/in;                                              Irrelevant; Vague/Ambiguous
                      Foundation; Unrelated

122:18       123:22   Collateral; Irrelevant; Misleading;     256:14-25
                      Prejudicial; Hearsay; Vague; W/in;
                      Foundation; Compound; Unrelated


146:20       147:02   Collateral; Irrelevant; Misleading;     257:8-20                                Irrelevant; Subject to ruling on Coloplast's
                      Prejudicial                                                                     MIL 6 [specific to 257:11-20]

148:01       148:02   Counsel                                 262:2-9 through “this”
148:13       148:14                                           263:2-9
148:18       148:21   Collateral; Irrelevant; Misleading;     270:9-14
                      Prejudicial; Hearsay; Vague

154:01       154:04   Collateral; Irrelevant; Misleading;     271:13
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154:06       154:06   Collateral; Irrelevant; Misleading;     274:21 starts with “vaginal” – 275:10   Irrelevant
                      Prejudicial; Vague
154:08       154:25   Collateral; Irrelevant; Misleading;     277:17 starts with “And” – 22           Irrelevant; Misleading; Foundation;
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                      Vague
159:16       160:03   Collateral; Irrelevant; Misleading;     298:16-299:2                            Irrelevant; Misleading; Prejudicial;
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                      Vague
160:05       160:05   Collateral; Irrelevant; Misleading;     299:4-13                                Irrelevant; Misleading; Prejudicial;
                      Prejudicial; Hearsay; Foundation;                                               Collateral
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160:07   160:11   Collateral; Irrelevant; Misleading;      299:17-300:3                    Irrelevant; Misleading; Prejudicial;
                  Prejudicial; Hearsay; Foundation;                                        Collateral
                  Vague; Unrelated

186:01   186:18   Collateral; Irrelevant; Misleading;      319:2-20
                  Prejudicial; Hearsay; Foundation;
                  Vague; Claims

213:04   213:21   Collateral; Irrelevant; Misleading;      360:10-25                       Asked and Answered; Cumulative;
                  Prejudicial; Unrelated; Vague                                            Narrative; Irrelevant

214:05   214:08   214:5-7                                  362:2-6
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                  Prejudicial; Unrelated; Vague;
                  Foundation

214:10   214:11   Collateral; Irrelevant; Misleading;      363:1-4
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                  Foundation
214:13   214:18   Collateral; Irrelevant; Misleading;      363:15-364:6                    Asked and Answered; Cumulative;
                  Prejudicial; Unrelated; Vague;                                           Irrelevant
                  Foundation
216:12   216:15   Collateral; Irrelevant; Misleading;      364:8                           Asked and Answered; Cumulative;
                  Prejudicial; Vague; Compound                                             Irrelevant

216:17   216:21   Collateral; Irrelevant; Misleading;      364:10-21                       Misleading; Improper - Misstates Prior
                  Prejudicial; Vague; Compound                                             Testimony

216:23   216:25   Collateral; Irrelevant; Misleading;
                  Prejudicial; Vague; Incomplete

219:03   219:10   Collateral; Irrelevant; Misleading;
                  Prejudicial; Foundation; Hearsay; W/in

219:24   220:05   Collateral; Irrelevant; Misleading;
                  Prejudicial; Facts
220:09   220:16   Collateral; Irrelevant; Misleading;
                  Prejudicial; Foundation; Hearsay; W/in

221:02   221:04   Collateral; Irrelevant; Misleading;
                  Prejudicial; Foundation; Vague

221:06   221:09   Collateral; Irrelevant; Misleading;
                  Prejudicial; Foundation; Vague

221:20   222:23   221:20-2
                  Collateral; Irrelevant; Misleading;
                  Prejudicial; Foundation; Hearsay; W/in
                  222:3
                  Counsel
                  222:5-23
                  Collateral; Irrelevant; Misleading;
                  Prejudicial; Foundation; Hearsay; W/in




223:01   223:11   223:1-8
                  Collateral; Irrelevant; Misleading;
                  Prejudicial; Foundation; Hearsay; W/in


                  223:9-11
                  Collateral; Irrelevant; Misleading;
                  Prejudicial; Foundation; Hearsay;
                  Speculation; W/in

223:13   223:16   Collateral; Irrelevant; Misleading;
                  Prejudicial; Foundation; Hearsay;
                  Speculation; W/in

223:18   223:19   Collateral; Irrelevant; Misleading;
                  Prejudicial; Foundation; Hearsay;
                  Speculation; W/in

223:21   223:21   Collateral; Irrelevant; Misleading;
                  Prejudicial; Foundation; Hearsay;
                  Speculation; W/in

224:19   225:12   Collateral; Irrelevant; Misleading;
                  Prejudicial; Foundation; Hearsay;
                  Speculation; W/in

228:17   228:22   Collateral; Irrelevant; Misleading;
                  Prejudicial; AER; Unrelated; Vague
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235:22        236:02
236:09        239:11   Collateral; Irrelevant; Misleading;
                       Prejudicial; Foundation; Hearsay;
                       Speculation; W/in; Vague; Literature


240:14        240:17   Collateral; Irrelevant; Misleading;
                       Prejudicial; Hearsay; Literature; Vague;
                       W/in

240:19        240:20   Collateral; Irrelevant; Misleading;
                       Prejudicial; Hearsay; Literature; Vague;
                       W/in

240:22        241:09   240:22-241:1
                       Collateral; Irrelevant; Misleading;
                       Prejudicial; Hearsay; Literature; Vague;
                       W/in
                       241:2-9
                       Collateral; Irrelevant; Misleading;
                       Prejudicial; Vague
241:11        241:12   Collateral; Irrelevant; Misleading;
                       Prejudicial; Vague
251:02        251:06   Collateral; Irrelevant; Misleading;
                       Prejudicial; Vague; Speculation;
                       Literature
251:16        251:19   Collateral; Irrelevant; Misleading;
                       Prejudicial; Vague; Hearsay; Literature;
                       W/in

252:03        252:25   Collateral; Irrelevant; Misleading;
                       Prejudicial; Hearsay; W/in

253:17        254:11   Collateral; Irrelevant; Misleading;
                       Prejudicial; Vague; Hearsay; Literature;
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257:01 “So”   257:07   Collateral; Irrelevant; Misleading;
                       Prejudicial; Vague; Hearsay; Literature;
                       W/in

258:20        258:25
260:16        260:19   Collateral; Irrelevant; Misleading;
                       Prejudicial; Foundation; Hearsay;
                       Literature; Vague; W/in

260:24        261:18   Collateral; Irrelevant; Misleading;
                       Prejudicial; Foundation; Hearsay;
                       Literature; Vague; W/in

263:10        263:22   Collateral; Irrelevant; Misleading;
                       Prejudicial; Foundation; Hearsay;
                       Vague; W/in; Literature

263:24        263:24   Collateral; Irrelevant; Misleading;
                       Prejudicial; Foundation; Hearsay;
                       Vague;
                       W/in; Literature
265:01        266:04   Collateral; Irrelevant; Misleading;
                       Prejudicial; Foundation; Hearsay;
                       Vague; W/in; Literature

267:05        267:07   Collateral; Irrelevant; Misleading;
                       Prejudicial; Hearsay; Vague; W/in

268:15        269:02   Collateral; Irrelevant; Misleading;
                       Prejudicial; Hearsay; Vague; Incomplete


269:06        270:08   Collateral; Irrelevant; Misleading;
                       Prejudicial; Hearsay; Vague; W/in

270:18        271:07   Collateral; Irrelevant; Misleading;
                       Prejudicial; Hearsay; Vague; W/in

271:15        273:21   Collateral; Irrelevant; Misleading;
                       Prejudicial; Hearsay; Vague; Literature;
                       W/in

273:23        273:23   Collateral; Irrelevant; Misleading;
                       Prejudicial; Hearsay; Vague; Literature;
                       W/in
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273:25       274:02        Collateral; Irrelevant; Misleading;
                           Prejudicial; Hearsay; Vague; Literature;
                           W/in

274:04       274:05        Collateral; Irrelevant; Misleading;
                           Prejudicial; Hearsay; Vague; Literature;
                           W/in

274:12       274:13        Collateral; Irrelevant; Misleading;
                           Prejudicial; Vague
274:16       274:19        Collateral; Irrelevant; Misleading;
                           Prejudicial; Vague
276:16       276:19        Collateral; Irrelevant; Misleading;
                           Prejudicial; Foundation; Lay; Vague

276:21       276:21        Collateral; Irrelevant;
                           Misleading; Prejudicial; Foundation;
                           Lay; Vague
276:23       277:10        Collateral; Irrelevant; Misleading;
                           Prejudicial; Vague
277:12       277:15        Collateral; Irrelevant; Misleading;
                           Prejudicial; Vague
290:02       290:05        Collateral; Irrelevant; Misleading;
                           Prejudicial; Hearsay; Literature; W/in

290:08       290:10        Collateral; Irrelevant; Misleading;
                           Prejudicial; Hearsay; Literature; W/in

290:13       290:16        Collateral; Irrelevant; Misleading;
                           Prejudicial; Hearsay; Literature; W/in

291:03       292:01        Collateral; Irrelevant; Misleading;
                           Prejudicial; Hearsay; Literature; W/in

356:04       356:12        Collateral; Irrelevant; Misleading;
                           Prejudicial; Foundation; Literature;
                           Misstates Testimony

346:14       356:14        Collateral; Irrelevant; Misleading;
                           Prejudicial; Foundation; Literature;
                           Misstates Testimony

356:16       356:22        Collateral; Irrelevant; Misleading;
                           Prejudicial; Foundation; Literature;
                           Misstates Testimony

                                                             Deposition of:  Joel Chechik
                                                             Taken On:       July 25, 2019
                                                             PLAINTIFF’S DESIGNATIONS
                                   This witness is not available to testify live & will be called by videotaped deposition.

 Start -       Finish –        Defendants' Objections                           Defendants' Counter Designations                        Plaintiff's Objections to
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34:09         34:11         Irrelevant; Misleading; Prejudicial;            29:20 starts with “At” – 23
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35:02         36:01         Irrelevant; Misleading; Prejudicial;            36:3-6                                            Irrelevant
                            Collateral; Foundation; Hearsay
38:02         38:02         Irrelevant; Misleading; Prejudicial;            77:22-78:5                                        Incomplete Designation
                            Collateral; Foundation; Hearsay
38:04         39:11         Irrelevant; Misleading; Prejudicial;            103:12 starts with “But” – 104:2                  Narrative
                            Collateral; Foundation; Hearsay
39:13         39:15         Irrelevant; Misleading; Prejudicial;            104:6                                             Cumulative; Asked and Answered
                            Collateral; Foundation; Hearsay
62:07         62:11         Irrelevant; Misleading; Prejudicial;            104:8-13                                          Cumulative; Asked and Answered
                            Collateral; Foundation; Hearsay
69:15         69:18         Irrelevant; Misleading; Prejudicial;            104:24-105:3                                      Improper Designation (No question posed);
                            Collateral; Foundation; Hearsay                                                                   Cumulative; Asked and Answered
69:23         70:02         Irrelevant; Misleading; Prejudicial;            135:24-138:5 through “patients”                   Narrive; Irrelevant; Misleading;
                            Collateral; Foundation; Hearsay                                                                   Collateral; Prejudicial
70:04         70:09         Irrelevant; Misleading; Prejudicial;            138:20-139:1                                      Irrelevant; Collateral
                            Collateral; Foundation; Hearsay
70:11         70:17         Irrelevant; Misleading; Prejudicial;            139:16-140:5                                      Subject to ruling on Coloplast's MIL 6
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76:19         77:21         Irrelevant; Misleading; Prejudicial;            164:9-17
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81:13    82:07    Irrelevant; Misleading; Prejudicial;        176:19-177:6                             FDA [specific to 177:1-2 - "it's not based at all
                  Collateral; Foundation; Hearsay; Unrelated;                                          on safety or efficacy"]; Irrelevant
                  Vague; Speculative
82:11    82:15    Irrelevant; Misleading; Prejudicial;        177:10-17                                Asked and Answered; Cumulative; Irrelevant
                  Collateral; Foundation; Hearsay; Unrelated;
                  Vague; Speculative
82:17    82:22    Irrelevant; Misleading; Prejudicial;        187:11-17                                Improper Designation (No question posed);
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                  Vague; Speculative                                                                   Prejudicial
82:24    83:03    Irrelevant; Misleading; Prejudicial;        191:22-192:3                             Subject to ruling on Pltf's MIL 1 (FDA
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                  Vague; Speculative
98:14    98:17                                                224:12 starts with “With” – 13 through   Subject to ruling on Pltf's MIL 1 (FDA
                                                              “motion”                                 510(k)); Irrelevant; Prejudicial [specific to
                                                              224:23-225:5                             224:12-13 - "With the FDA 522 studies in
                                                                                                       motion"]
102:01   103:12   Irrelevant; Misleading; Prejudicial;        248:20-252:2                             Attorney Colloquy [specific to 248:20-23];
                  Collateral; Foundation; Hearsay; Unrelated;
                  Partial; Vague; Argumentative; Speculative;                                          Irrelevant; Cumulative; Asked and Answered;
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135:02   135:05                                                252:6-10                                Irrelelvant; Collateral; Cumulative; Asked and
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139:02   139:15   Irrelevant; Misleading; Prejudicial;         252:13-20                               Irrelelvant; Collateral; Cumulative; Asked and
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140:06   140:17   Irrelevant; Misleading; Prejudicial;         252:22-253:13
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142:01   142:16   142:1-6                                      254:2-24
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142:18   142:19   Irrelevant; Misleading; Prejudicial;         255:4-16                                Narrative; Nonresponsive [specific to 255:5
                  Collateral; Foundation; Hearsay; Vague;                                              (starting with "And") through 16]
                  Misstates testimony
151:17   156:11   151:17-154:8                                 255:18-257:21                           Irrelevant; Cumulative; Asked and Answered;
                  Irrelevant; Misleading; Prejudicial;                                                 Narrative
                  Collateral; Foundation; Hearsay; Vague;
                  Argumentative
                  154:9-156:11
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162:11   164:08   Irrelevant; Misleading; Prejudicial;        258:1-260:11                             Irrelevant; Cumulative; Asked and Answered;
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165:09   165:10   Irrelevant; Misleading; Prejudicial;        265:7-267:16                             Irrelevant; Narrative; Nonresponsive;
                  Collateral; Foundation; Hearsay; Incomplete                                          Collateral; Prejudicial



168:17   171:05   Irrelevant; Misleading; Prejudicial;
                  Collateral; Foundation; Hearsay; Facts;
                  Hypothetical; Speculative; Argumentative

171:07   171:14   Irrelevant; Misleading; Prejudicial;
                  Collateral; Foundation; Hearsay; Facts;
                  Hypothetical; Speculative; Argumentative

171:16   171:23   Irrelevant; Misleading; Prejudicial;
                  Collateral; Foundation; Hearsay; Facts;
                  Hypothetical; Speculative; Argumentative

174:22   176:18   Irrelevant; Misleading; Prejudicial;
                  Collateral; Foundation; Hearsay
177:20   177:21   Irrelevant; Misleading; Prejudicial;
                  Collateral; Foundation; Hearsay
177:23   180:20   177:23-180:14
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                  Collateral; Foundation; Hearsay
186:01   187:10   Irrelevant; Misleading; Prejudicial;
                  Collateral; Foundation; Hearsay
187:21   188:15   Irrelevant; Misleading; Prejudicial;
                  Collateral; Foundation; Hearsay; Misstates
                  testimony; Misstates documents
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188:17            188:18            Irrelevant; Misleading; Prejudicial;
                                    Collateral; Foundation; Hearsay; Misstates
                                    testimony; Misstates documents

190:03            190:21            Irrelevant; Misleading; Prejudicial;
                                    Collateral; Foundation; Hearsay; Misstates
                                    documents

191:14            191:21            Irrelevant; Misleading; Prejudicial;
                                    Collateral; Foundation; Hearsay; Incomplete


192:04            193:03            Irrelevant; Misleading; Prejudicial;
                                    Collateral; Foundation; Hearsay; Incomplete


195:08            195:17            Irrelevant; Misleading; Prejudicial;
                                    Collateral; Foundation; Hearsay
223:24            224:12            Irrelevant; Misleading; Prejudicial;
                                    Collateral; Foundation; Hearsay; Incomplete

224:13 “it’s”     224:22            Irrelevant; Misleading; Prejudicial;
                                    Collateral; Foundation; Hearsay; Incomplete

246:12            2466:13           Irrelevant; Misleading; Prejudicial;
                                    Collateral; Foundation; Hearsay; Claims

246:15            247:13            Irrelevant; Misleading; Prejudicial;
                                    Collateral; Foundation; Hearsay; Claims

                                                   Deposition of:          Jon E. Cornell Taken On:                February 5, 2019
                                                                           PLAINTIFF’S DESIGNATIONS
                                               This witness is not available to testify live & will be called by videotaped deposition.

    Start -                Finish –           Defendants' Objections                     Defendants' Counter Designations                            Plaintiff's Objections to
    Page/Line              Page/Line                                                                                                            Defendants' Counter Designations
08:21                    08:23                                                         13:3-15:16                                  Irrelevant; Collateral; Prejudicial
08:25 “Who do”           09:05                                                         27:14-21                                    Incomplete Designation; Irrelevant; Collateral
09:11                    09:13                                                         82:10-17                                    Irrelevant
12:16                    12:19                                                         184:10-19                                   Prejudicial; Collateral
84:11 “I’m”              85:03              Irrelevant; Prejudicial;                   190:10 starts with “I” – 190:25             FDA; Prejudicial; Misleading
                                            Misleading; Collateral
146:25                   147:18                                                        191:8-17                                    FDA
182:02                   182:03                                                        192:2-9                                     Vague/Ambiguous; Misleading; Prejudicial
182:05                   182:08                                                        192:12                                      FDA; Irrelevant
183:19                   184:09             Irrelevant; Prejudicial;                   192:16-22                                   FDA; Irrelevant
                                            Misleading; Collateral; FDA
189:03                   189:04             Irrelevant; Prejudicial;                   239:14-243:13                               Narrative; Irrelevant [all]
                                            Misleading; Collateral; FDA
                                                                                                                                   Irrelevant; Misleading; Prejudicial; FDA [specific to
                                                                                                                                   242:21-243:13]
189:06                   190:10 “done.”     Irrelevant; Prejudicial;                   243:15-244:1                                Irrelevant; Misleading; Prejudicial FDA; Narrative
                                            Misleading; Collateral; FDA
191:01                   191:07             Irrelevant; Prejudicial;                   244:3-248:15                                Vague/Ambiguous; Misleading; Prejudicial; Narrative;
                                            Misleading; Collateral; FDA                                                            Speculative; FDA
191:18                   192:01             Irrelevant; Prejudicial;
                                            Misleading; Collateral; FDA
194:16                   195:10             194:23-195:10
                                            Irrelevant; Prejudicial;
                                            Misleading; Collateral
                                                                           Deposition of: Tim Crabtree
                                                                           Taken On:       July 18, 2019
                                                                           PLAINTIFF’S DESIGNATIONS
                                                     This witness is not available to testify live & will be called by videotaped deposition.

 Start -          Finish –           Defendants' Objections                          Defendants' Counter Designations                         Plaintiff's Objections to
 Page/Line        Page/Line                                                                                                              Defendants' Counter Designations
08:10            08:15                                                         12:9-13:22                                          Irrelevant; Collateral
28:19            29:02            Vague                                        15:19-17:18                                         Irrelevant; Collateral
                                                                                                                                   FDA [specific to 17:17-18]
29:09            29:11            Vague                                        17:25-18:7                                          Irrelevant; Collateral
                                              Case 6:20-cv-00831-RBD-GJK Document 218-9 Filed 05/13/21 Page 18 of 51 PageID 29018




60:20           61:16                 60:20-25                                    19:1-21:13                                           Irrelevant; Collateral
                                      Vague; Irrelevant; Collateral; Prejudicial;
                                      Misleading; Facts; Foundation
                                      61:1-6
                                      Vague; Irrelevant; Collateral; Prejudicial;
                                      Misleading; Facts; Foundation; Speculation;
                                      Incomplete



107:06          108:22                107:6-18                                     22:2-23:17                                          Irrelevant; Collateral
                                      Vague; Facts; Foundation; Speculation
                                      107:19-108:1
                                      Vague; Facts; Foundation; Collateral;
                                      Prejudicial; Irrelevant
                                      108:2-8
                                      Vague; Facts; Foundation; Collateral;
                                      Prejudicial; Irrelevant; Misleading
                                      108:9-22
                                      Vague; Facts; Foundation; Collateral;
                                      Prejudicial; Irrelevant; Misleading;
                                      Speculation




108:24          108:24                Vague; Facts; Foundation; Collateral;        25:8-23                                             FDA; Irrelevant; Prejudicial
                                      Prejudicial; Irrelevant; Misleading;
                                      Speculation
109:01          109:07                Vague; Facts; Foundation; Collateral;        28:5-7                                              Irrelevant; Collateral
                                      Prejudicial; Irrelevant; Misleading;
                                      Speculation
                                                                                   29:3-8                                              Irrelevant
                                                                                   29:12-30:17                                         FDA [specific to 30:7-17]
                                                                                   35:14-37:2                                          FDA; Irrelevant; Prejudicial
                                                                                   59:24-60:9
                                                                                   60:17-18
                                                                                   61:16 starts with “I don’t” – 18
                                                                                   83:22-84:16                                         FDA; Irrelevant; Prejudicial
                                                                                   279:4-280:1                                         Attorney Colloquy [specific to 279:4-7];

                                                                                                                                       FDA; Irrelevant; Prejudicial; Asked and
                                                                                                                                       Answered; Cumulative [specific to 279:8-
                                                                                                                                       280:1]

                                                                                   280:4-8                                             FDA; Irrelevant; Prejudicial; Misleading
                                                                                   280:11-15                                           FDA; Irrelevant; Prejudicial; Misleading;
                                                                                                                                       Cumulative
                                                                                   280:18-19                                           FDA; Irrelevant; Prejudicial; Misleading;
                                                                                                                                       Cumulative
                                                                                   280:22-281:1                                        FDA; Irrelevant; Prejudicial; Misleading
                                                                                   281:3-5                                             FDA; Irrelevant; Prejudicial; Misleading;
                                                                                                                                       Vague; Cumulative
                                                                                   281:7-283:2                                         FDA; Irrelevant; Prejudicial; Misleading;
                                                                                                                                       Cumulative
                                                                                   284:3-11                                            FDA; Irrelevant; Prejudicial
                                                                                   286:9-10
                                                                                   286:13-21                                           Misleading; Prejudicial; Vague; [specific to
                                                                                                                                       286:18-21]
                                                                                   286:23                                              Misleading; Prejudicial; Vague
                                                                                   287:1-4                                             Misleading; Prejudicial
                                                                                   287:7                                               Misleading; Prejudicial
                                                                                   287:9-17                                            Misleading; Prejudicial
                                                                                   287:20-21                                           Misleading; Prejudicial; Speculative;
                                                                                                                                       Foundation
                                                                                   287:23                                              Misleading; Prejudicial; Speculative;
                                                                                                                                       Foundation
                                                                                    287:25-288:5
                                                                                    288:7-10
                                                    Deposition of:            Geoffrey A. Daniel Taken On:               December 19, 2018
                                                                                PLAINTIFF’S DESIGNATIONS
                                                       This witness is not available to testify live & will be called by videotaped deposition.

   Start - Page/Line      Finish –                Defendants' Objections                      Defendants' Counter Designations                         Plaintiff's Objections to
                          Page/Line                                                                                                               Defendants' Counter Designations
07:10 “we’ll”          07:17                                                                 33:9 starts with “The” – 33:20
07:21                  07:21 “sir.”                                                          85:25-86:2 through “so”
                                 Case 6:20-cv-00831-RBD-GJK Document 218-9 Filed 05/13/21 Page 19 of 51 PageID 29019




07:23           07:25             Irrelevant; Collateral;          88:13-15
                                  Prejudicial
08:09           08:11             Irrelevant; Collateral;          88:17-20
                                  Prejudicial; Misleading
10:22           10:25                                              93:11-94:11                           Irrelevant; Cumulative; Collateral [specific to 93:20-
                                                                                                         94:4]
32:12           32:20             32:19-20                         102:11-15
                                  Irrelevant; Collateral;
                                  Prejudicial
32:25           33:09 “were.”     33:3-9                           103:24-104:4
                                  Prejudicial; Misleading;
                                  Incomplete; Foundation
61:25           62:03                                              119:25-120:5
85:09           85:24             Irrelevant; Collateral;          128:14 starts with “We” – 128:15      Nonresponsive; Irrelevant; Misleading; Collateral
                                  Prejudicial; Misleading;
                                  Incomplete
86:02 “I’m”     86:12             Irrelevant; Collateral;          128:21 starts with “Again” – 128:22   Nonresponsive; Irrelevant; Misleading; Collateral
                                  Prejudicial; Misleading;
                                  Incomplete
86:17           86:21                                              133:8 starts with “and” – 133:10      Nonresponsive; Irrelevant; Misleading; Collateral
87:14           88:08             88:2-8                           133:14 starts with “Again” – 133:15   Nonresponsive; Irrelevant; Misleading; Collateral
                                  Prejudicial; Misleading;
                                  Incomplete
88:10           88:12             Prejudicial; Misleading;         140:8 starts with “But” – 140:10
                                  Incomplete
89:16           89:20                                              141:5 starts with “I’d” – 141:7
92:16           92:18             Irrelevant; Collateral;          217:5-25
                                  Prejudicial; Misleading
92:20           93:02             Irrelevant; Collateral;          218:8 starts with “It” – 218:9
                                  Prejudicial; Misleading
94:12           95:23             94:12-22                         219:5-7                               Nonresponsive; Irrelevant; Misleading; Collateral
                                  Irrelevant; Collateral;
                                  Prejudicial
96:16           97:06             Incomplete                       220:16 starts with “These” – 220:17

97:22           98:22             98:6-22                          222:11-19                             Nonresponsive; Irrelevant; Confusing; Speculative
                                  Irrelevant; Collateral;
                                  Prejudicial; Misleading
99:06           101:18                                             227:25-228:5                          Nonresponsive; Legal Conclusion [specific to 228:2
                                                                                                         (starting with "That's") through 5]
101:20          101:22                                             244:5 starts with “So” – 245:21
101:24          102:10            Incomplete                       252:8-11
102:16          103:05            Irrelevant; Collateral;          252:22 starts with “What” – 252:24    Nonresponsive; Irrelevant; Misleading; Collateral
                                  Prejudicial; Misleading
103:07          103:11            Irrelevant; Collateral;
                                  Prejudicial; Misleading
103:13          103:23            Incomplete
104:16          104:18            Irrelevant; Collateral;
                                  Prejudicial
111:11 “What”   112:02
115:01          115:05            Incomplete; Prejudicial;
                                  Misleading
117:12          117:15            Incomplete; Prejudicial;
                                  Misleading
117:19 “And”    117:25            Irrelevant; Collateral;
                                  Prejudicial
118:12 “Is”     119:02 “ends.”    118:21-119:2
                                  Irrelevant; Collateral;
                                  Prejudicial; Misleading
119:12          119:24            Irrelevant; Collateral;
                                  Prejudicial; Misleading;
                                  Incomplete
120:06          120:24            120:6-9
                                  Irrelevant; Collateral;
                                  Prejudicial; Misleading
125:01          125:06            Prejudicial; Misleading;
                                  Incomplete
125:15          126:14
127:02          127:10
128:11          128:12            Irrelevant; Collateral;
                                  Prejudicial; Misleading;
                                  Incomplete; Facts
                               Case 6:20-cv-00831-RBD-GJK Document 218-9 Filed 05/13/21 Page 20 of 51 PageID 29020




128:14        128:14            Irrelevant; Collateral;
                                Prejudicial; Misleading;
                                Incomplete; Facts
128:17        128:18            Irrelevant; Collateral;
                                Prejudicial; Misleading;
                                Incomplete; Facts
128:20        128:21            Irrelevant; Collateral;
                                Prejudicial; Misleading;
                                Incomplete; Facts
128:24        129:02            Irrelevant; Collateral;
                                Prejudicial; Misleading; Facts
129:04        129:06            129:4-5
                                Irrelevant; Collateral;
                                Prejudicial; Misleading; Facts

133:05        133:08            Irrelevant; Collateral;
                                Prejudicial; Misleading;
                                Incomplete

133:11        133:14 “No.”      Irrelevant; Collateral;
                                Prejudicial; Misleading;
                                Incomplete
133:16        133:19 “No.”      Prejudicial; Misleading;
                                Incomplete
133:25 “to”   135:03            133:25-134:2
                                Prejudicial; Misleading;
                                Incomplete
                                134:3-9
                                Irrelevant; Collateral;
                                Prejudicial; Misleading;
                                Cumulative
135:05        135:13
138:07        140:08 “time.”    Irrelevant; Collateral;
                                Prejudicial; Misleading;
                                Incomplete; Unrelated
140:11        140:15            Irrelevant; Collateral;
                                Prejudicial; Misleading
140:17        141:01            Irrelevant; Collateral;
                                Prejudicial; Misleading
141:03        141:05            Irrelevant; Collateral;
                                Prejudicial; Misleading;
                                Speculation; Misstates
                                Documents
156:13        156:17            Irrelevant; Collateral;
                                Prejudicial
157:24        158:04            Irrelevant; Collateral;
                                Prejudicial; Misleading
167:21        168:18            Irrelevant; Collateral;
                                Prejudicial; Misleading
217:01        217:04            Irrelevant; Collateral;
                                Prejudicial
218:04        218:08 “I do.”    Irrelevant; Collateral;
                                Prejudicial; Incomplete
218:10        218:15            Prejudicial; Cumulative;
                                Counsel
218:22        219:04            Incomplete
219:08        219:10            Cumulative
219:13        219:15            Cumulative
219:25        220:16 “No.”      220:10-16
                                Irrelevant; Collateral;
                                Prejudicial; Misleading;
                                Unrelated; Incomplete
225:10        225:12            Irrelevant; Collateral;
                                Prejudicial; Misleading;
                                Counsel
225:22        225:23            Irrelevant; Collateral;
                                Prejudicial; Misleading
225:25        226:03            Irrelevant; Collateral;
                                Prejudicial; Misleading
226:21        227:04            Irrelevant; Collateral;
                                Prejudicial; Misleading;
                                Unrelated; Counsel
                                    Case 6:20-cv-00831-RBD-GJK Document 218-9 Filed 05/13/21 Page 21 of 51 PageID 29021




227:06           227:07               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Unrelated; Counsel
227:09           227:12               Irrelevant; Collateral;
                                      Prejudicial; Misleading
227:14           227:15               Irrelevant; Collateral;
                                      Prejudicial; Misleading
227:17           227:20               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
227:22           227:23               V
                                      Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Vag e
246:15           246:21               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Hypothetical; Facts; Vague
246:23           246:25               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Hypothetical; Facts; Vague
247:02           247:02               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Hypothetical
247:04           247:05               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Hypothetical
247:07           247:07               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Hypothetical
247:09           247:10               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Hypothetical
247:12           247:22               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Hypothetical
248:08           249:04               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Unrelated; AER
251:25           252:04
252:15           252:18               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Incomplete; Facts
252:20           252:22               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Incomplete; Facts
253:25           254:03               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Unrelated
254:06           254:06               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Unrelated
254:09           254:11               Irrelevant; Collateral;
                                      Prejudicial; Misleading;
                                      Unrelated
                                               Deposition of:            Douglas Devens Taken On:             April 17, 2019
                                                                        PLAINTIFF’S DESIGNATIONS
                                              This witness is not available to testify live & will be called by videotaped deposition.

 Start -     Finish –      Defendants' Objections                              Defendants' Counter Designations                           Plaintiff's Objections to
 Page/Line   Page/Line                                                                                                               Defendants' Counter Designations
8:02         8:05                                                       8:12 starts with “And” – 17                        Irrelevant; Collateral
7:15         7:18                                                       8:19-9:18                                          Irrelevant; Collateral
14:08        14:10                                                      9:20-10:2                                          Irrelevant; Collateral
14:15        15:07                                                      10:5-9                                             Irrelevant; Collateral
15:22        16:02                                                      10:19 starts with “Where” – 12:1                   Irrelevant; Collateral

17:03        17:11                                                      12:2 starts with “Did” – 6                         Irrelevant; Collateral
23:13        23:17        23:13-15                                      12:10 starts with “When” – 23                      Irrelevant; Collateral
                          Irrelevant; Prejudicial; Facts 23:16
                          Irrelevant; Prejudicial; Collateral; Facts
                          23:17
                          Irrelevant; Prejudicial; Facts



23:19        23:19        Irrelevant; Prejudicial; Facts                13:2 starts with “And” – 6                         Irrelevant; Collateral
24:01        24:04        Irrelevant; Prejudicial; Collateral; Facts;   14:11-14
                          Vague
                            Case 6:20-cv-00831-RBD-GJK Document 218-9 Filed 05/13/21 Page 22 of 51 PageID 29022




32:11    32:24                                             15:8-21
38:22    39:02    Foundation; Speculation; Misleading;     17:12-20                           Irrelevant; Prejudicial; Vague/Ambiguous
                  Hypothetical
39:05    39:06    Foundation; Speculation; Misleading;     24:5-8                             Irrelevant; Speculative
                  Hypothetical
39:08    39:09    Foundation; Speculation; Misleading;     24:10-15                           Irrelevant; Speculative
                  Hypothetical
39:11    39:14    Foundation; Speculation; Misleading;     30:4-5                             Irrelevant
                  Hypothetical
39:16    39:18    Foundation; Speculation; Misleading;     30:9-12                            Irrelevant
                  Hypothetical
39:21    39:24    Foundation; Speculation; Misleading;     33:1-19
                  Hypothetical
40:02    40:03    Foundation; Speculation; Misleading;     33:21-24
                  Hypothetical
40:06    40:07    Foundation; Speculation; Misleading;     40:12-16
                  Hypothetical
40:10    40:10    Foundation; Speculation; Misleading;     111:8-9
                  Hypothetical
47:07    47:13    Foundation; Speculation; Vague             111:11
47:17    48:06    Irrelevant; Collateral; Prejudicial; Vague 112:12-22

48:08    48:10    Irrelevant; Collateral; Prejudicial; Vague 115:11-116:4                     FDA; Misleading; Prejudicial


48:12    48:14    Irrelevant; Collateral; Prejudicial; Vague 138:20-139:3                     Subject to ruling on Coloplast's MIL 6


86:04    86:04    Foundation; Irrelevant; Prejudicial      139:13-17                          Subject to ruling on Coloplast's MIL 6

86:06    86:19    Foundation; Irrelevant; Prejudicial      145:8-11

87:09    87:10    Irrelevant; Prejudicial; Misleading;     145:13-23                          Narrative
                  Collateral; Foundation; Speculation

87:13    87:13    Irrelevant; Prejudicial; Misleading;     146:24-147:23
                  Collateral; Foundation; Speculation

87:15    87:18    Irrelevant; Prejudicial; Misleading;     166:12-168:2                       Attorney Colloquy [specific to 166:12-16];
                  Collateral; Foundation; Speculation                                         Cumulative; Asked and Answered

89:18    90:10    Irrelevant; Prejudicial; Misleading;     169:17-170:1
                  Collateral; Foundation

90:16    90:21    Irrelevant; Prejudicial; Misleading;     170:8-18                           Irrelevant; Prejudicial; Speculative
                  Collateral; Foundation; Speculation

93:01    93:01                                             171:1-19                           Incomplete Designation; Cumulative; Narrative
95:13    96:10    Irrelevant; Prejudicial; Misleading;     172:12-18                          Cumulative; Asked and Answered; Misleading;
                  Collateral; Facts                                                           Prejudicial
96:12    96:14    Irrelevant; Prejudicial; Misleading;     175:3-176:10                       FDA; Irrelevant; Prejudicial; Misleading; Misstates
                  Collateral; Facts                                                           Testimony/Evidence
96:16    96:21    Irrelevant; Prejudicial; Misleading;     180:21-183:4                       Narrative; Prejudicial; Misleading
                  Collateral; Facts
96:23    96:23    Irrelevant; Prejudicial; Misleading;     200:9-19                           FDA; Irrelevant; Prejudicial; Misleading
                  Collateral; Facts
110:11   110:12
110:14   111:07   Irrelevant; Prejudicial; Misleading

112:02   112:11   Irrelevant; Prejudicial; Misleading

114:14   115:10   Irrelevant; Prejudicial; Misleading

138:09   138:09
138:11   138:19   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation

139:04   139:12   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation

139:18   140:07   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation

140:09   140:09   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation

140:11   140:14   Irrelevant; Prejudicial; Misleading;
                  Collateral; Foundation; Speculation
                                      Case 6:20-cv-00831-RBD-GJK Document 218-9 Filed 05/13/21 Page 23 of 51 PageID 29023




140:16        140:16        Irrelevant; Prejudicial; Misleading;
                            Collateral; Foundation; Speculation

140:18        142:01        Irrelevant; Prejudicial; Misleading;
                            Collateral; Foundation; Speculation

142:03        142:04        Irrelevant; Prejudicial; Misleading;
                            Collateral; Foundation; Speculation

142:06        142:09        Irrelevant; Prejudicial; Misleading;
                            Collateral;
                            Foundation; Speculation
142:11        142:15        Irrelevant; Prejudicial; Misleading;
                            Collateral; Foundation; Speculation

142:17        142:23        Irrelevant; Prejudicial; Misleading;
                            Collateral; Foundation; Speculation

195:04        195:23        Irrelevant; Prejudicial; Collateral

196:13        196:14        Irrelevant; Prejudicial; Collateral

196:17        196:17        Irrelevant; Prejudicial; Collateral

196:19        197:05        196:19-197:2
                            Irrelevant; Prejudicial; Collateral
                            197:3-5
                            Irrelevant; Prejudicial; Collateral;
                            Remedial; Vague; Misleading


197:08        197:08        Irrelevant; Prejudicial; Collateral;
                            Remedial; Vague; Misleading

201:01        201:07        Irrelevant; Prejudicial; Collateral; Vague;
                            Misleading
                                                 Deposition of:           Jennifer Englund Taken On:              April 25, 2019
                                                                          PLAINTIFF’S DESIGNATIONS
                                                This witness is not available to testify live & will be called by videotaped deposition.

  Start -              Finish –           Defendants' Objections                      Defendants' Counter Designations                         Plaintiff's Objections to
  Page/Line            Page/Line                                                                                                          Defendants' Counter Designations
07:16            07:17                                                               8:20-9:19
08:11            08:19                                                               10:7-17                                 Irrelevant; Cumulative
12:02            13:03                  Irrelevant; Collateral;                      11:11-18                                Irrelevant; Cumulative
15:01            15:18                  Irrelevant; Collateral;                      15:18 starts with “I mean” – 16:4       Narrative; Misleading; Collateral
                                        Prejudicial; Vague;
                                        Incomplete
17:04            17:16                  Irrelevant; Collateral;                      17:17-18:4                              Irrelevant; Prejudicial; Collateral; Misleading; FDA
                                        Prejudicial; Misleading
18:05            18:09                  Irrelevant; Collateral;                      19:10-20:6                              Irrelevant; Prejudicial; Collateral; Misleading
                                        Prejudicial; Misleading; Facts

23:03            23:14                  Irrelevant; Collateral;                      27:11-14                                Irrelevant
                                        Prejudicial; Facts
25:22            26:09                  Irrelevant; Collateral;                      27:22-28:2
                                        Prejudicial
27:06            27:10                  Irrelevant; Collateral;                      28:17-20                                Irrelevant; Prejudicial; Collateral; Misleading
                                        Prejudicial
27:15            27:21                  Irrelevant; Collateral;                      111:21-112:2                            Irrelevant; Prejudicial; Collateral; Misleading
                                        Prejudicial
28:03            28:16                  Irrelevant; Collateral;                      114:10-20                               Irrelevant; Prejudicial; Collateral; Misleading
                                        Prejudicial
111:05           111:20                 Irrelevant; Collateral;                      118:8-11                                Irrelevant; Prejudicial; Collateral; Misleading
                                        Prejudicial; Misleading;
                                        Counsel; Incomplete

112:03           113:17                 Irrelevant; Collateral;                      118:23-119:7                            Irrelevant; Prejudicial; Collateral; Misleading
                                        Prejudicial; Misleading;
114:05           114:09                 Irrelevant; Collateral;                      120:8-11                                Irrelevant; Prejudicial; Collateral; Misleading
                                        Prejudicial; Misleading;
                                        Counsel
116:18           116:18                                                              149:20 starts with “So” – 150:4         Irrelevant; Prejudicial; Collateral; Misleading
116:20           118:07                 Irrelevant; Collateral;                      150:10-18                               Irrelevant; Prejudicial; Collateral; Misleading
                                        Prejudicial; Misleading;
                                        Counsel
119:21           119:21                                                              154:16-23                               Irrelevant; Prejudicial; Collateral; Misleading
120:12           120:18                 Irrelevant; Collateral;                      155:15                                  Irrelevant; Prejudicial; Collateral; Misleading
                                        Prejudicial; Misleading;
                                        Counsel
                                         Case 6:20-cv-00831-RBD-GJK Document 218-9 Filed 05/13/21 Page 24 of 51 PageID 29024




121:08            122:12                   Irrelevant; Collateral;                       155:17-20                                 Irrelevant; Prejudicial; Collateral; Misleading
                                           Prejudicial; Misleading;
                                           Counsel
126:03 “With”     126:13                   Irrelevant; Collateral;                       161:8-162:20                              Irrelevant; Prejudicial; Collateral; Misleading
                                           Prejudicial; Misleading;
                                           Counsel
149:16            149:18                   Irrelevant; Collateral;                       167:8-19                                  Irrelevant; Prejudicial; Collateral; Misleading
                                           Prejudicial; Misleading;
                                           Incomplete

149:20            149:20 “No”              Irrelevant; Collateral;                       168:1-9                                   Irrelevant; Prejudicial; Collateral; Misleading
                                           Prejudicial; Misleading;
                                           Incomplete

150:05            150:09                   Irrelevant; Collateral;                       203:24-204:20                             Attorney Colloquy [specific to 203:24-204:4];
                                           Prejudicial; Misleading;                                                                Irrelevant; Cumulative; Asked and Answered
                                           Incomplete


150:19            150:23                   Irrelevant; Collateral;                       206:7-208:2                               Irrelevant; Prejudicial; Collateral; Misleading;
                                           Prejudicial; Counsel                                                                    Cumulative; Asked and Answered

151:09            151:19                   Irrelevant; Collateral;                       210:11-23                                 Irrelevant; Prejudicial; Collateral
                                           Prejudicial; Misleading

152:09            152:09                                                                 235:2-20                                  Irrelevant; Prejudicial; Collateral; Misleading


153:14            154:15                   Irrelevant; Collateral;                       236:16-20                                 Irrelevant; Prejudicial; Collateral; Misleading
                                           Prejudicial; Misleading
155:02            155:07                   Irrelevant; Collateral;                       252:23-253:19                             Irrelevant; Prejudicial; Collateral; Misleading
                                           Prejudicial; Misleading
155:12            155:14                   Irrelevant; Collateral;                       254:8-255:3                               Irrelevant; Prejudicial; Collateral; Misleading
                                           Prejudicial; Misleading
159:16            159:16                                                                 255:7-257:11                              Irrelevant; Prejudicial; Collateral; Misleading

159:18            159:21                   Irrelevant; Collateral;                       258:23-260:3                              Irrelevant; Prejudicial; Collateral; Misleading
                                           Prejudicial; Misleading
159:24            159:24                   Irrelevant; Collateral;
                                           Prejudicial; Misleading
160:02            161:07                   Irrelevant; Collateral;
                                           Prejudicial; Misleading;
                                           Incomplete
166:06            166:06
167:20            167:24                   Irrelevant; Collateral;
                                           Prejudicial; Misleading
168:10            170:22                   Irrelevant; Collateral;
                                           Prejudicial; Misleading;
                                           Unrelated
180:15 “And”      181:01                   Irrelevant; Collateral;
                                           Prejudicial; Misleading;
                                           Unrelated
181:19            181:22                   Irrelevant; Collateral;
                                           Prejudicial; Misleading;
                                           Unrelated
                                                                       Deposition of:  Ankur Garg
                                                                       Taken On:      June 19, 2019
                                                                       PLAINTIFF’S DESIGNATIONS

                                                    This witness is not available to testify live & will be called by videotaped deposition.

 Start -        Finish –         Defendants' Objections                            Defendants' Counter Designations                                 Plaintiff's Objections to
 Page/Line      Page/Line                                                                                                                      Defendants' Counter Designations
08:06           08:10                                                      8:11-19                                                 Attorney Colloquy; Irrelevant
10:05           10:19           Irrelevant; Collateral; Prejudicial        17:15-16                                                Irrelevant; Collateral

13:01           13:08           Irrelevant; Collateral; Prejudicial        32:22-34:5                                              Irrelevant; Prejudicial; Misleading; Collateral

13:24           14:10           Irrelevant; Collateral; Prejudicial;       35:7-12                                                 Irrelevant; Prejudicial; Misleading; Collateral
                                Counsel

15:12           15:16           Irrelevant; Collateral; Prejudicial;       36:2-18                                                 Irrelevant; Prejudicial; Misleading; Collateral
                                Misleading
16:02           16:04           Irrelevant; Collateral; Prejudicial;       37:4-13                                                 Irrelevant; Prejudicial; Misleading; Collateral
                                Misleading
17:06           17:14           Irrelevant; Collateral; Prejudicial;       54:16-56:8                                              Irrelevant; Prejudicial; Misleading; Collateral
                                Misleading
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17:17   17:22   Irrelevant; Collateral; Prejudicial;   56:18-57:7                          Irrelevant; Prejudicial; Misleading; Collateral
                Misleading
21:22   22:02   Irrelevant; Collateral; Prejudicial;   57:14-18                            Irrelevant; Prejudicial; Misleading; Collateral
                Misleading
27:10   28:04                                          57:20-23                            Irrelevant; Prejudicial; Misleading; Collateral

28:08   29:09   Irrelevant; Collateral; Prejudicial;   60:8-12                             Irrelevant; Prejudicial; Misleading; Collateral
                Misleading
34:17   35:06   Irrelevant; Collateral; Prejudicial;   65:6-9                              Irrelevant; Prejudicial; Misleading; Collateral
                Misleading
49:01   49:08   Irrelevant; Collateral; Prejudicial    67:12-17                            Irrelevant; Prejudicial; Misleading; Collateral

51:10   52:04   Irrelevant; Collateral; Prejudicial;   70:5-13                             Irrelevant; Prejudicial; Misleading; Collateral
                Counsel; Claims
54:11   54:15   Irrelevant; Collateral; Prejudicial;   71:7-11                             Irrelevant; Prejudicial; Misleading; Collateral
                Claims
57:08   57:13   Irrelevant; Collateral; Prejudicial;   71:13-21                            Irrelevant; Prejudicial; Misleading; Collateral
                Misleading

57:24   58:06   Irrelevant; Collateral; Prejudicial;   72:22-73:11                         Irrelevant; Prejudicial; Misleading; Collateral
                Misleading
60:13   61:18   Irrelevant; Collateral; Prejudicial;   78:15-20                            Irrelevant; Prejudicial; Misleading; Collateral
                Counsel; Argumentative

64:14   64:19   Irrelevant; Collateral; Prejudicial;   81:5-9                              Irrelevant; Prejudicial; Misleading; Collateral
                Foundation
65:02   65:05   Irrelevant; Collateral; Prejudicial;   81:11-82:8                          Irrelevant; Prejudicial; Misleading; Collateral
                Foundation
65”10   65:13   Irrelevant; Collateral; Prejudicial;   85:3-4                              Irrelevant; Prejudicial; Misleading; Collateral
                Foundation
65:24   66:02   65:22-66:2                             85:6-8                              Irrelevant; Prejudicial; Misleading; Collateral
                Irrelevant; Collateral; Prejudicial;
                Foundation
66:11   66:19   Irrelevant; Collateral; Prejudicial;   89:5 starts with “The” – 89:6       Irrelevant; Prejudicial; Misleading; Collateral
                Foundation
67:07   67:11   Irrelevant; Collateral; Prejudicial;   90:1-92:16                          Irrelevant; Prejudicial; Misleading; Collateral
                Foundation
67:24   68:19   Irrelevant; Collateral; Prejudicial;   103:17-104:19                       Irrelevant; Prejudicial; Misleading; Collateral
                Foundation

69:06   69:24   Irrelevant; Collateral; Prejudicial;   105:5-14                            Irrelevant; Prejudicial; Misleading; Collateral
                Misleading; Foundation

70:14   70:22   Irrelevant; Collateral; Prejudicial;   107:14-21                           Irrelevant; Prejudicial; Misleading; Collateral
                Misleading; Foundation

72:06   72:21   Irrelevant; Collateral; Prejudicial;   108:8-24                            Irrelevant; Prejudicial; Misleading; Collateral
                Misleading; Foundation

73:12   73:17   Irrelevant; Collateral; Prejudicial;   113:20-114:3                        Irrelevant; Prejudicial; Misleading; Collateral
                Misleading
74:13   74:18   Irrelevant; Collateral; Prejudicial;   114:12-15                           Irrelevant; Prejudicial; Misleading; Collateral
                Misleading; Counsel

75:06   75:16   Irrelevant; Collateral; Prejudicial;   118:15-22                           Irrelevant; Prejudicial; Misleading; Collateral
                Misleading; Counsel

76:19   76;24   Irrelevant; Collateral; Prejudicial    119:13-20                           Irrelevant; Prejudicial; Misleading; Collateral

77:06   77:15   Irrelevant; Collateral; Prejudicial    126:5-9                             Irrelevant; Prejudicial; Misleading; Collateral

78:07   78:14   Irrelevant; Collateral; Prejudicial    131:12-15                           Irrelevant; Prejudicial; Misleading; Collateral

78:12   79:03   78:21-79:03                            131:17-23                           Irrelevant; Prejudicial; Misleading; Collateral
                Irrelevant; Collateral; Prejudicial;
                Misleading; Vague
79:16   80:11   Irrelevant; Collateral; Prejudicial;   132:1-8                             Irrelevant; Prejudicial; Misleading; Collateral
                Misleading
82:10   82:18   Irrelevant; Collateral; Prejudicial;   141:10-16                           Irrelevant; Prejudicial; Misleading; Collateral
                Misleading
84:10   84:18   84:10-17                               165:12-20                           Irrelevant; Prejudicial; Misleading; Collateral
                Irrelevant; Collateral; Prejudicial;                                       Irrelevant; Prejudicial; Misleading; Collateral
                Misleading
85:14   85:23   Irrelevant; Collateral; Prejudicial    170:6-10                            Irrelevant; Prejudicial; Misleading; Collateral
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86:10    87:17     Irrelevant; Collateral; Prejudicial;   170:12-14                           Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading; Counsel

88:16    89:05     Irrelevant; Collateral; Prejudicial;   176:16-177:4                        Irrelevant; Prejudicial; Misleading; Collateral
         “yes”     Misleading; Incomplete

102:12   103:01    Irrelevant; Collateral; Prejudicial;   180:13-181:2                        Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading
103:05   103:16    Irrelevant; Collateral; Prejudicial;   182:1-20                            Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading

104:24   105:04    Irrelevant; Collateral; Prejudicial    184:1-6                             Irrelevant; Prejudicial; Misleading; Collateral

106:11   107:13    Irrelevant; Collateral; Prejudicial;   186:19-187:1                        Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading; Foundation; Counsel

107:22   108:07    Irrelevant; Collateral; Prejudicial;   188:15-189:4                        Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading; Counsel; Speculation

111:03   111:18    Irrelevant; Collateral; Prejudicial;   190:7-14                            Irrelevant; Prejudicial; Misleading; Collateral
                   Claims; Counsel
112:19   113:19    Irrelevant; Collateral; Prejudicial;   191:10-192:3                        Irrelevant; Prejudicial; Misleading; Collateral
                   Counsel; Claims
114:04   114:11    Irrelevant; Collateral; Prejudicial;   192:22-193:16                       Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading
114:24   116:16    Irrelevant; Collateral; Prejudicial;   200:6-9                             Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading

118:06   118:14    Irrelevant; Collateral; Prejudicial;   201:7-17                            Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading
118:23   119:07    Irrelevant; Collateral; Prejudicial;   202:6-18                            Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading
119:23   120:01    Irrelevant; Collateral; Prejudicial;   205:19-22                           Irrelevant; Prejudicial; Misleading; Collateral
                   Repetitive

120:22   121:02    Irrelevant; Collateral; Prejudicial    206:4-15                            Irrelevant; Prejudicial; Misleading; Collateral

122:17   123:10    Irrelevant; Collateral; Prejudicial;   207:6-10                            Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading; Counsel

123:24   124:11    Irrelevant; Collateral; Prejudicial;   210:12-19                           Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading; Counsel

125:23   126:04    Irrelevant; Collateral; Prejudicial;   219:21-24                           Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading

126:10   126:17    Irrelevant; Collateral; Prejudicial;   220:11-14                           Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading; Counsel

126:23   127:19    Irrelevant; Collateral; Prejudicial;   221:21-23                           Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading; Counsel; Argumentative

128:15   128:23    Irrelevant; Collateral; Prejudicial;   222:1-224:15                        Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading; Counsel; Facts


130:23   131:11    Irrelevant; Collateral; Prejudicial;   267:2-14                            Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading
132:09   132:21    Irrelevant; Collateral; Prejudicial;   271:18-22                           Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading
133:20   134:15    Irrelevant; Collateral; Prejudicial;   271:24-272:6                        Irrelevant; Prejudicial; Misleading; Collateral
                   Misleading; Counsel

136:10   136:;20   Irrelevant; Collateral; Prejudicial;   273:7-11                            Attorney Colloquory; Irrelevant
                   Claims; Counsel
140:06   141:06    Irrelevant; Collateral; Prejudicial;   273:21-277:13                       Irrelevant; Prejudicial; Misleading; Collateral;
                   Misleading; Foundation; Unrelated                                          Cumulative

165:06   165:11    Irrelevant; Collateral; Prejudicial;   277:18-278:21                       Irrelevant; Prejudicial; Misleading; Collateral;
                   Misleading; Incomplete                                                     Cumulative

166:08   167:02    Irrelevant; Collateral; Prejudicial;   279:2-280:12                        Irrelevant; Prejudicial; Misleading; Collateral;
                   Counsel; Claims; Foundation                                                Cumulative

167:07   167:10    Irrelevant; Collateral; Prejudicial;   280:16-20                           Irrelevant; Prejudicial; Misleading; Collateral;
                   Foundation                                                                 Cumulative
169:07   170:05    Irrelevant; Collateral; Prejudicial;   281:11-282:10                       Irrelevant; Prejudicial; Misleading; Collateral;
                   Counsel; Foundation                                                        Cumulative

171:09   171:13    Irrelevant; Collateral; Prejudicial;   282:15-286:6                        Irrelevant; Prejudicial; Misleading; Collateral;
                   Foundation                                                                 Cumulative
173:08   173:21    Irrelevant; Collateral; Prejudicial;   286:9-287:21                        Irrelevant; Prejudicial; Misleading; Collateral;
                   Counsel; Foundation                                                        Cumulative
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175:24        176:15   Irrelevant; Collateral; Prejudicial;   288:15-290:16                       Irrelevant; Prejudicial; Misleading; Collateral;
                       Misleading; Foundation; Speculation                                        Cumulative

180:05 “it”   180:12   Irrelevant; Collateral; Prejudicial;   290:18-24                           Irrelevant; Prejudicial; Misleading; Collateral;
                       Misleading; Foundation                                                     Cumulative

183:19        183:24   Irrelevant; Collateral; Prejudicial;   291:2-3                             Irrelevant; Prejudicial; Misleading; Collateral;
                       Misleading; Foundation                                                     Cumulative

185:14        186:18   185:14-186:16                          292:18-295:19                       Irrelevant; Prejudicial; Misleading; Collateral;
                       Irrelevant; Collateral; Prejudicial;                                       Cumulative
                       Misleading; Foundation; Counsel

187:09        188:14   Irrelevant; Collateral; Prejudicial;   296:21-24                           Irrelevant; Prejudicial; Misleading; Collateral;
                       Misleading; Foundation; Counsel                                            Cumulative

189:22        190:06   Irrelevant; Collateral; Prejudicial;   298:1-301:9                         Irrelevant; Prejudicial; Misleading; Collateral;
                       Misleading; Foundation                                                     Cumulative

190:17        190:21   Irrelevant; Collateral; Prejudicial;   302:22-24                           Irrelevant; Prejudicial; Misleading; Collateral;
                       Misleading; Foundation; Counsel                                            Cumulative

193:17        194:15   Irrelevant; Collateral; Prejudicial;   304:1-305:1                         Irrelevant; Prejudicial; Misleading; Collateral;
                       Misleading; Foundation; Counsel                                            Cumulative

199:16        200:05   Irrelevant; Collateral; Prejudicial;   305:6 starts with “Do” – 306:23     Irrelevant; Prejudicial; Misleading; Collateral;
                       Misleading; Foundation                                                     Cumulative

200:20        201:06   Irrelevant; Collateral; Prejudicial;   307:2-310:24                        Irrelevant; Prejudicial; Misleading; Collateral;
                       Misleading; Foundation; Claims                                             Cumulative

201:18        202:05   Irrelevant; Collateral; Prejudicial;   313:12-315:21                       Irrelevant; Prejudicial; Misleading; Collateral;
                       Misleading; Foundation                                                     Cumulative

203,23        204:12   Irrelevant; Collateral; Prejudicial;   316:1-20                            Irrelevant; Prejudicial; Misleading; Collateral;
                       Misleading                                                                 Cumulative
205:07        205:18   Irrelevant; Collateral; Prejudicial;   316:22-318:9                        Irrelevant; Prejudicial; Misleading; Collateral;
                       Counsel; Foundation                                                        Cumulative

205:23        206:03   Irrelevant; Collateral; Prejudicial;   318:11-19                           Irrelevant; Prejudicial; Misleading; Collateral;
                       Speculation; Foundation                                                    Cumulative

207:11        207;24   Irrelevant; Collateral; Prejudicial;   318:21-24                           Irrelevant; Prejudicial; Misleading; Collateral;
                       Counsel; Claims; Foundation                                                Cumulative

208:22        209:10   Irrelevant; Collateral; Prejudicial;   319:2-13                            Irrelevant; Prejudicial; Misleading; Collateral;
                       Counsel; Speculation; Foundation                                           Cumulative

210:08        210:11   Irrelevant; Collateral; Prejudicial;   320:9-20                            Irrelevant; Prejudicial; Misleading; Collateral;
                       Foundation                                                                 Cumulative
210:20        211:05   Irrelevant; Collateral; Prejudicial;   321:19-322:6                        Irrelevant; Prejudicial; Misleading; Collateral;
                       Counsel; Foundation                                                        Cumulative

218;21        219:12   Irrelevant; Collateral; Prejudicial;   322:8-323:15                        Irrelevant; Prejudicial; Misleading; Collateral;
                       Counsel; Incomplete                                                        Cumulative

220:02        220:10   Irrelevant; Collateral; Prejudicial;   323:17-324:3                        Irrelevant; Prejudicial; Misleading; Collateral;
                       Counsel                                                                    Cumulative
220:15        221:10   Irrelevant; Collateral; Prejudicial;
                       Misleading
260:17        261:16   Irrelevant; Collateral; Prejudicial;
                       Counsel; Foundation

262:02        262:05   Irrelevant; Collateral; Prejudicial;
                       Counsel; Claims
262:16        263:05   Irrelevant; Collateral; Prejudicial;
                       Misleading; Foundation

263:09        264:01   Irrelevant; Collateral; Prejudicial;
                       Misleading; Foundation; Counsel

264:24        265:25   264:24-265:24
                       Irrelevant; Collateral; Prejudicial;
                       Misleading; Foundation; Counsel

266:17        267:01   Irrelevant; Collateral; Prejudicial;
                       Misleading; Foundation; Counsel;
                       Argumentative

267:16        267:22   Irrelevant; Collateral; Prejudicial;
                       Counsel; Claims
268:04        268:12   Irrelevant; Collateral; Prejudicial

268:20        269:05   Irrelevant; Collateral; Prejudicial;
                       Misleading
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269:19           270:06        Irrelevant; Collateral; Prejudicial;
                               Misleading

270:12           271:17        Irrelevant; Collateral; Prejudicial;
                               Counsel; Speculation

                                                Deposition of:         Steffen Hovard Taken On:                July 23, 2019
                                                                      PLAINTIFF’S DESIGNATIONS
                                                This witness is not available to testify live & will be called by videotaped deposition.

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                     Page/Line                                                                                                              Defendants' Counter Designations
10:17               11:02                                                         12:19-13:1
12:08               12:15                                                         13:10 starts with “And” – 12
13:05               13:10            Irrelevant; Incomplete; Misleading;          15:24-16:23                                  Irrelevant
                                     Prejudicial; Collateral

14:06               14:13            Irrelevant; Misleading; Prejudicial;         17:4 starts with “I” – 13                    Irrelevant
                                     Collateral; Foundation; Misstates
                                     testimony

15:17               15:23            Irrelevant; Misleading; Prejudicial;         17:17-18:9                                   Irrelevant
                                     Collateral
16:24               17:04            Irrelevant; Misleading; Prejudicial;         19:15-20:4                                   Irrelevant
                                     Collateral; Incomplete

17:14               17:16            Irrelevant; Misleading; Prejudicial;         21:21 starts with “As” – 22:4
                                     Collateral; Incomplete

20:05               20:10            Irrelevant; Misleading; Prejudicial;         23:16-24:8
                                     Collateral

21:17               21:21            Irrelevant; Misleading; Prejudicial;         33:11-34:23                                  Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation; Incomplete

22:05               23:08            Irrelevant; Misleading; Prejudicial;         41:21-42:1                                   Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation

26:21               27:03            Irrelevant; Misleading; Prejudicial;         43:9 starts with “Again” – 43:10             Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation

28:05               28:08            Irrelevant; Misleading; Prejudicial;      46:17-47:6                                      Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation; Claims; Unrelated


28:16               28:21            Irrelevant; Misleading; Prejudicial;      47:17-22                                        Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation; Claims; Unrelated


30:03               30:24            Irrelevant; Misleading; Prejudicial;         56:20-21                                     Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation; Hearsay

32:01               32:21            Irrelevant; Misleading; Prejudicial;         65:16-20 through “notification”              Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation; Hearsay

33:04               33:10            Irrelevant; Misleading; Prejudicial;         66:12-67:2                                   Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation; Hearsay

34:24               35:03            Irrelevant; Misleading; Prejudicial;       67:11-18                                       Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation; Hearsay; Misstates
                                     document

41:03               41:06                                                         68:4-17                                      Irrelevant; Prejudicial; Collateral; Misleading
41:13               41:20            Irrelevant; Misleading; Prejudicial;         68:20-69:3                                   Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation; Hearsay; W/in;
                                     Incomplete

42:02               43:09            Irrelevant; Misleading; Prejudicial;         73:12-13 through “July”                      Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation; Hearsay; W/in;
                                     Incomplete

46:09               46:16            Irrelevant; Misleading; Prejudicial;         74:15-75:4                                   Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation; Hearsay

47:23               48:08            Irrelevant; Misleading; Prejudicial;         77:23-78:13                                  Irrelevant; Prejudicial; Collateral; Misleading
                    “Exhibit 5.”     Collateral; Foundation; Claims

48:13 “Exhibit      48:21            Irrelevant; Misleading; Prejudicial;         101:13 starts with “And” – 17                Irrelevant; Prejudicial; Collateral; Misleading
5”                                   Collateral; Foundation; Hearsay

49:19               51:03            Irrelevant; Misleading; Prejudicial;         102:18 starts with “I don’t” – 19            Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation; Hearsay

51:12               51:16            Irrelevant; Misleading; Prejudicial;         104:10-23                                    Irrelevant; Prejudicial; Collateral; Misleading
                                     Collateral; Foundation; Hearsay
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52:12             52:18    Irrelevant; Misleading; Prejudicial;       105:18-106:9             Irrelevant; Prejudicial; Collateral; Misleading
                           Collateral; Counsel; Misstates court-
                           ordered scope of deposition

52:20             52:20    Irrelevant; Misleading; Prejudicial;       127:4-10                 Irrelevant; Prejudicial; Collateral; Misleading
                           Collateral; Counsel; Misstates court-
                           ordered scope of deposition

54:04             54:18    Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Facts; Calls for
                           legal conclusion

55:03             55:06    Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Facts; Calls for
                           legal conclusion

56:05             56:19    Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay

56:22             57:15    Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay

64:20             64:20    Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay; W/in;
                           Claims; Unrelated

64:22             65:02    Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay; W/in;
                           Claims; Unrelated

65:10             65:15    Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay; W/in;
                           Claims; Unrelated; Incomplete

65:20             66:11    Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay; W/in;
                           Claims; Unrelated; Incomplete

67:19             68:03    Collateral; Irrelevant; Misleading;
                           Prejudicial; Foundation, Hearsay

72:18             73:11    Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay;
                           Unrelated; Incomplete

73:13             74:14    Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay;
                           Unrelated; Incomplete

75:05             76:23    Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay;
                           Unrelated
77:08 “is this”   77:22    Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay;
                           Unrelated
100:16            101:13   Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay;
                           Incomplete

102:12 “you”      102:18   Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay;
                           Incomplete

103:10            104:09   Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay; W/in

104:24            105:17   Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay

126:10            126:10
126:16 “This”     127:03   Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay

127:11            128:15   Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay

138:08            139:21   Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay

149:22            150:02   Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay; Claims

150:04            150:04   Irrelevant; Misleading; Prejudicial;
                           Collateral; Foundation; Hearsay; Claims
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150:06           150:16       Irrelevant; Misleading; Prejudicial;
                              Collateral; Foundation; Hearsay; Claims

                                           Deposition of:         Julie Kerkvliet Taken On:              March 7, 2019
                                                                 PLAINTIFF’S DESIGNATIONS
                                         This witness is not available to testify live & will be called by videotaped deposition.

  Start -         Finish –                Defendants' Objections               Defendants' Counter Designations                      Plaintiff's Objections to
  Page/Line       Page/Line                                                                                                     Defendants' Counter Designations
13:04           13:05                                                        20:24-21:2
13:12           13:15                                                        23:14-22
17:12 “would”   18:07            Irrelevant; Collateral; Prejudicial;        28:19-21
                                 Misleading;
                                 Counsel; Argumentative
18:09           18:10            Irrelevant; Collateral; Prejudicial;        28:23-29:3
                                 Misleading; Counsel; Argumentative

18:12           19:11            18:12-19:3                                   31:14-17                                Speculative
                                 Irrelevant; Collateral; Prejudicial; Counsel


19:20           20:02            Irrelevant; Collateral; Prejudicial;        31:19-23                                 Speculative
                                 Misleading; Facts

20:15           20:16                                                        39:2-40:15                               Irrelevant; Cumulative; Prejudicial; Misleading;
                                                                                                                      Collateral
20:20           20:23            Irrelevant; Collateral; Prejudicial;        41:1-24                                  Irrelevant; Cumulative; Prejudicial; Misleading;
                                 Misleading                                                                           Collateral
22:22           23:13                                                        42:21-43:1                               Irrelevant; Prejudicial; Misleading; Collateral

23:23           24:06            Irrelevant; Collateral; Prejudicial;        43:16-44:6                               Irrelevant; Prejudicial; Misleading; Collateral
                                 Misleading
26:03           27:21            Irrelevant; Collateral; Prejudicial;        44:22-45:1                               Irrelevant; Prejudicial; Misleading; Collateral
                                 Misleading; Counsel; Foundation;
                                 Hypothetical; Financial

27:23           27:24            Irrelevant; Collateral; Prejudicial;        45:8-18                                  Irrelevant; Prejudicial; Misleading; Collateral
                                 Misleading; Counsel; Foundation;
                                 Hypothetical; Financial

28:01           28:18            Irrelevant; Collateral; Prejudicial;        46:4-15                                  Irrelevant; Prejudicial; Misleading; Collateral
                                 Misleading; Counsel; Foundation;
                                 Hypothetical; Financial

30:02           30:18            Irrelevant; Collateral; Prejudicial;        58:19-25                                 Irrelevant; Prejudicial; Misleading; Collateral
                                 Misleading; Counsel; Speculation;
                                 Foundation; Hypothetical; Financial


30:23           30:23            Irrelevant; Collateral; Prejudicial;        59:21-60:4                               Irrelevant; Prejudicial; Misleading; Collateral
                                 Misleading; Counsel; Speculation;
                                 Foundation; Hypothetical; Financial


30:25           31:04            Irrelevant; Collateral; Prejudicial; Counsel 60:24-61:6                              Irrelevant; Prejudicial; Misleading; Collateral


31:06           31:06            Irrelevant; Collateral; Prejudicial; Counsel 62:6-9                                  Irrelevant; Prejudicial; Misleading; Collateral

31:08           31:10            Irrelevant; Collateral; Prejudicial;        70:20-71:2                               Irrelevant; Prejudicial; Misleading; Collateral
                                 Misleading; Counsel; Hypothetical;
                                 Financial
31:12           31:12            Irrelevant; Collateral; Prejudicial;        71:4-10                                  Irrelevant; Prejudicial; Misleading; Collateral
                                 Misleading; Counsel; Hypothetical;
                                 Financial
32:01           32:11            Irrelevant; Collateral; Prejudicial;        74:22-75:2                               Irrelevant; Prejudicial; Misleading; Collateral
                                 Misleading; Foundation; Hypothetical;
                                 Financial

32:13           32:13            Irrelevant; Collateral; Prejudicial;        89:23-90:18                              Irrelevant; Prejudicial; Misleading; Collateral
                                 Misleading; Foundation; Hypothetical;
                                 Financial

32:22           33:15            Irrelevant; Collateral; Prejudicial         91:20-24                                 Irrelevant; Prejudicial; Misleading; Collateral
37:21           39:01            Irrelevant; Collateral; Prejudicial;        92:24-93:1                               Irrelevant; Prejudicial; Misleading; Collateral
                                 Misleading;
                                 Foundation
40:16           40:25            Irrelevant; Collateral; Prejudicial;        93:3-16                                  Irrelevant; Prejudicial; Misleading; Collateral
                                 Misleading; Counsel; Cumulative

42:01 “What”    42:03            Irrelevant; Collateral; Prejudicial;        94:1-9                                   Irrelevant; Prejudicial; Misleading; Collateral
                                 Misleading; Cumulative
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42:05          42:07   Irrelevant; Collateral; Prejudicial;     94:24-95:3                       Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Cumulative

42:09          42:16   Irrelevant; Collateral; Prejudicial;     106:21-107:10                    Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Counsel; Cumulative

42:18          42:19   Irrelevant; Collateral; Prejudicial;     113:11-16                        Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Counsel; Cumulative

43:03 “Look”   43:07   Irrelevant; Collateral; Prejudicial;     113:18-23                        Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Counsel; Cumulative;
                       Foundation

43:09          43:14   Irrelevant; Collateral; Prejudicial;     116:7-117:6                      Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Counsel; Cumulative;
                       Foundation

44:07          44:18   Irrelevant; Collateral; Prejudicial;     117:17-118:3                     Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading
45:02          45:07   Irrelevant; Collateral; Prejudicial;     119:1-4                          Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Counsel; Facts

45:19          46:03   Irrelevant; Collateral; Prejudicial;     119:25-120:6                     Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Counsel; Speculation

46:16          47:14   Irrelevant; Collateral; Prejudicial;     122:1-8                          Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Counsel
56:13          56:14                                            123:23-124:4                     Irrelevant; Prejudicial; Misleading; Collateral
58:07          58:18   Irrelevant; Collateral; Prejudicial;     124:23-125:10                    Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading

59:06          59:20   Irrelevant; Collateral; Prejudicial;     125:12-126:1                     Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Foundation; Hearsay; W/in

60:05          60:23   Irrelevant; Collateral; Prejudicial;     127:9-13                         Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Counsel; Facts; Hearsay;
                       Foundation; W/in

61:07          61:17   Irrelevant; Collateral; Prejudicial;   127:17-128:3                       Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Foundation; Hearsay; W/in;
                       Facts; Counsel

61:19          61:21   Irrelevant; Collateral; Prejudicial;     128:5-16                         Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Foundation; Hearsay; W/in;
                       Facts; Counsel

61:23          62:05   Irrelevant; Collateral; Prejudicial;     142:3-19                         Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Foundation; Hearsay; W/in;
                       Counsel; Incomplete; Repetitive

66:24          69:04   Irrelevant; Collateral; Prejudicial;     146:3-6                          Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Foundation; Hearsay; W/in;
                       Counsel

69:10          69:12   Irrelevant; Collateral; Prejudicial;     146:9-10                         Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Counsel; Cumulative;
                       Argumentative

69:14          69:15   Irrelevant; Collateral; Prejudicial;     146:12-13                        Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading;
                       Counsel; Cumulative; Argumentative                                        Irrelevant; Prejudicial; Misleading; Collateral

69:17          70:19   Irrelevant; Collateral; Prejudicial;     146:15-16                        Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Counsel; Repetitive

71:12          71:20   Irrelevant; Collateral; Prejudicial;     146:21-24                        Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Foundation; Hearsay; W/in

73:01          74:09   Irrelevant; Collateral; Prejudicial;     148:25-149:2                     Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Foundation; Hearsay; W/in;
                       Counsel; Unrelated

74:11          74:12   Irrelevant; Collateral; Prejudicial;     150:14-19                        Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Foundation; Hearsay; W/in;
                       Counsel; Unrelated

74:14          74:17   Irrelevant; Collateral; Prejudicial;     152:13 starts with “Again” –16   Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Unrelated

75:24          75:25                                            154:22-155:1                     Irrelevant; Prejudicial; Misleading; Collateral
76:24          79:01   Irrelevant; Collateral; Prejudicial;     156:4-12                         Irrelevant; Prejudicial; Misleading; Collateral
                       Misleading; Hearsay; Counsel
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79:05    80:17    Irrelevant; Collateral; Prejudicial;      159:21-23                        Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading;
                  Foundation; Hearsay; W/in; Counsel

80:19    80:20    Irrelevant; Collateral; Prejudicial;      163:17-23                        Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Foundation; Hearsay; W/in;
                  Counsel

81:24    82:05    Irrelevant; Collateral; Prejudicial;      167:16-22                        Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Foundation; Hearsay; W/in

84:10    84:11                                              169:10-16                        Irrelevant; Prejudicial; Misleading; Collateral
88:05    89:04    Irrelevant; Collateral; Prejudicial;      170:1-3                          Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Foundation; Misstates
                  Document; Hearsay; W/in

89:11    89:18    Irrelevant; Collateral; Prejudicial;      170:5-8                          Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Foundation; Hearsay; W/in

90:19    91:19    Irrelevant; Collateral; Prejudicial;      171:11-20                        Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Foundation; Hearsay; W/in;
                  Incomplete

92:04    92:23    Irrelevant; Collateral; Prejudicial;      171:25-172:18                    Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Foundation; Hearsay; W/in;
                  Claims; Speculation

94:15    94:23    Irrelevant; Collateral; Prejudicial;      177:15-24                        Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Foundation; Hearsay; W/in

95:16    96:05    Irrelevant; Collateral; Prejudicial;      179:11-180:6 through “But”       Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Foundation; Hearsay; W/in;
                  Speculation; Calls for Legal Conclusion


96:08    96:14    Irrelevant; Collateral; Prejudicial;      182:18-24                        Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Foundation; Hearsay; W/in;
                  Speculation; Calls for Legal Conclusion


107:11   107:12   Irrelevant; Collateral; Prejudicial;      183:24-184:3                     Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Vague
107:14   107:24   Irrelevant; Collateral; Prejudicial;      186:20-187:8                     Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Vague
108:08   108:12   Irrelevant; Collateral; Prejudicial;      192:22-193:9                     Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Vague
108:14   108:24   Irrelevant; Collateral; Prejudicial;      194:22 starts with “data” – 23   Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Vague
110:16   111:11   Irrelevant; Collateral; Prejudicial;      197:21-23                        Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading
111:24   112:03   Irrelevant; Collateral; Prejudicial;      198:1-3                          Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Counsel
112:05   112:23   Irrelevant; Collateral; Prejudicial;      198:13-16                        Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Counsel
112:25   113:05   Irrelevant; Collateral; Prejudicial;      198:24-199:19                    Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Counsel; Misstates
                  Testimony; Cumulative

113:08   113:10   Irrelevant; Collateral; Prejudicial;      207:25-208:21                    Irrelevant; Prejudicial; Misleading; Collateral
                  Misleading; Counsel; Misstates
                  Testimony; Cumulative

115:03   115:04                                             239:9-241:15                     Irrelevant; Prejudicial; Misleading; Collateral
115:06   115:07   Irrelevant; Prejudicial; Counsel          241:19-242:20                    Irrelevant; Prejudicial; Misleading; Collateral
115:10   115:16   Irrelevant; Collateral; Prejudicial       244:12-245:13                    Irrelevant; Prejudicial; Misleading; Collateral
115:24   116:06   Irrelevant; Collateral; Prejudicial;      250:7-252:20                     Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading                                                                 Collateral
117:07   117:16   Irrelevant; Collateral; Prejudicial;      254:8-260:5                      Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Counsel; Incomplete                                            Collateral

118:04   118:08   Irrelevant; Collateral; Prejudicial;      260:8-265:1                      Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Counsel; Incomplete                                            Collateral

118:10   118:24   Irrelevant; Collateral; Prejudicial;      284:19-285:18                    Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Counsel; Incomplete                                            Collateral

119:05   119:18   Irrelevant; Collateral; Prejudicial;
                  Misleading; Counsel; Incomplete;
                  Hypothetical

122:09   122:12   Irrelevant; Collateral; Prejudicial;
                  Misleading; Counsel
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122:14   122:15           Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel
122:17   123:16           Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel; Incomplete

124:06   124:22           Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel

126:03   127:08           Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel; Foundation; Hearsay


136:23   137:01           Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel; Foundation;
                          Speculative; Hypothetical

137:03   137:20           Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel; Foundation;
                          Speculative; Hypothetical

140:24   142:02           141:1-142:2
                          Irrelevant; Collateral; Prejudicial;
                          Misleading

145:11   146:02           Irrelevant; Collateral; Prejudicial; Counsel


146:17   146:20           Irrelevant; Collateral; Prejudicial;
                          Misleading

146:25   147:19           Irrelevant; Collateral; Prejudicial;
                          Misleading; Argumentative

147:22   148:01           147:24-148:1
                          Irrelevant; Collateral; Prejudicial
148:14   148:24           Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel
150:20   151:06           Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel; Foundation

151:08   151:10           Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel; Foundation

151:12   151:21           Irrelevant; Collateral; Prejudicial;
                          Misleading
152:07   152:13 “says.”   Irrelevant; Collateral; Prejudicial;
                          Misleading; Foundation; Incomplete

152:22   154:21           Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel; Unrelated

155:02   156:03           Irrelevant; Collateral; Prejudicial;
                          Misleading; Hearsay; Unrelated;
                          Foundation
156:13   157:02           Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel; Foundation;
                          Argumentative

157:04   157:04           Irrelevant; Collateral; Prejudicial;
                          Misleading;
                          Counsel; Foundation; Argumentative

159:13   159:15           Irrelevant; Collateral; Prejudicial;
                          Misleading; Foundation; Facts

159:17   159:19           Irrelevant; Collateral; Prejudicial;
                          Misleading; Foundation; Facts

161:08   162:20           Irrelevant; Collateral; Prejudicial;
                          Misleading; Facts
162:22   162:22           Irrelevant; Collateral; Prejudicial;
                          Misleading; Facts
162:24   163:01           Irrelevant; Collateral; Prejudicial;
                          Misleading
163:12   163:16           Irrelevant; Collateral; Prejudicial
164:07   164:09           Irrelevant; Collateral; Prejudicial;
                          Misleading
164:12   164:14           Irrelevant; Collateral; Prejudicial;
                          Misleading
167:08   167:15           Irrelevant; Collateral; Prejudicial;
                          Misleading
167:23   168:02           Irrelevant; Collateral; Prejudicial
168:08   168:16           Irrelevant; Collateral; Prejudicial
                                    Case 6:20-cv-00831-RBD-GJK Document 218-9 Filed 05/13/21 Page 34 of 51 PageID 29034




168:24              169:09           Irrelevant; Collateral; Prejudicial;
                                     Misleading
169:17              169:25           Irrelevant; Collateral; Prejudicial;
                                     Misleading; Hearsay; W/in

170:10              171:04           Irrelevant; Collateral; Prejudicial;
                                     Misleading;
                                     Counsel; Hearsay; W/in
171:21              171:24           Irrelevant; Collateral; Prejudicial;
                                     Misleading; Foundation; Hearsay

173:21              173:24           173:23-24
                                     Irrelevant; Collateral; Prejudicial
174:10              174:18           Irrelevant; Collateral; Prejudicial
175:03              175:05           Irrelevant; Collateral; Prejudicial;
                                     Misleading; Hearsay; W/in; Counsel

175:10              176:16           Irrelevant; Collateral; Prejudicial;
                                     Misleading; Hearsay; W/in; Counsel

177:12              177:14           Irrelevant; Collateral; Prejudicial;
                                     Misleading; Hearsay; W/in

177:25              178:07           178:2-7
                                     Irrelevant; Collateral; Prejudicial
178:15              179:10           Irrelevant; Collateral; Prejudicial;
                                     Misleading; Counsel
180:06 “let’s”      182:17           Irrelevant; Collateral; Prejudicial;
                                     Misleading; Counsel; Argumentative;
                                     Claims; Foundation; Hearsay

182:25              183:12           Irrelevant; Collateral; Prejudicial;
                                     Misleading; Foundation

184:13              185:01           Irrelevant; Collateral; Prejudicial
185:06              186:15           Irrelevant; Collateral; Prejudicial;
                                     Misleading
191:13              192:14           Irrelevant; Collateral; Prejudicial
192:19              192:21           Irrelevant; Collateral; Prejudicial
193:10              194:18           Irrelevant; Collateral; Prejudicial;
                                     Misleading; Incomplete; Counsel

194:20              194:23           194:20-22
                                     Irrelevant; Collateral; Prejudicial;
                                     Misleading; Incomplete; Counsel

197:12              197:20           Irrelevant; Collateral; Prejudicial
198:04              198:12           Irrelevant; Collateral; Prejudicial;
                                     Misleading; Incomplete

198:17              198:23           Irrelevant; Collateral; Prejudicial;
                                     Misleading
205:23              207:24           Irrelevant; Collateral; Prejudicial;
                                     Misleading; Foundation

                                           Deposition of:          Ashwini Keswani Taken On:                April 10, 2019
                                                                   PLAINTIFF’S DESIGNATIONS
                                           This witness is not available to testify live & will be called by videotaped deposition.

 Start -          Finish –     Defendants' Objections                               Defendants' Counter Designations                   Plaintiff's Objections to
 Page/Line        Page/Line                                                                                                       Defendants' Counter Designations
09:03            09:07                                                      9:8-9                                          Irrelevant; Cumulative; Prejudicial; Misleading;
                                                                                                                           Collateral
09:10            09:12                                                      9:13-19                                        Irrelevant; Cumulative; Prejudicial; Misleading;
                                                                                                                           Collateral
09:20            11:15        10:5-13                                    15:3-5                                            Irrelevant; Cumulative; Prejudicial; Misleading;
                              Collateral; Irrelevant; Misleading;                                                          Collateral
                              Prejudicial
                              10:17-20
                              Collateral; Irrelevant; Prejudicial; Vague


12:07            13:15        Collateral; Foundation; Irrelevant;     18:18-23                                             Irrelevant; Cumulative; Prejudicial; Misleading;
                              Prejudicial; Misleading; Foundation;                                                         Collateral
                              Speculation; Misstates documents; Vague


14:07            14:09        Collateral; Irrelevant; Financial;            19:5-9                                         Irrelevant; Cumulative; Prejudicial; Misleading;
                              Misleading; Prejudicial                                                                      Collateral
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14:24   15:02   Irrelevant; Collateral; Counsel; Misstates 19:22-20-:1                  Irrelevant; Cumulative; Prejudicial; Misleading;
                testimony; Prejudicial; Misleading                                      Collateral

15:06   15:09   Argumentative; Irrelevant; Collateral;        20:22-21:6                Irrelevant; Cumulative; Prejudicial; Misleading;
                Counsel; Hearsay; Prejudicial;                                          Collateral
                Misleading
15:14   15:22   15:19                                         25:14-23                  Irrelevant; Cumulative; Prejudicial; Misleading;
                Argumentative; Counsel; Misstates                                       Collateral
                testimony
16:06   16:12   16:6-10                                  26:20-27:2                     Irrelevant; Cumulative; Prejudicial; Misleading;
                Irrelevant; Collateral; Prejudicial;                                    Collateral
                Misleading;
                Financial; Hearsay; Misstates documents;
                Vague
16:18   18:17   16:18-24                                      27:14-28:6                Irrelevant; Cumulative; Prejudicial; Misleading;
                Irrelevant; Collateral; Prejudicial;                                    Collateral
                Misleading; Financial; Misstates
                documents; Vague


                17:1-18:17                                                              Irrelevant; Cumulative; Prejudicial; Misleading;
                Collateral; Hearsay; Irrelevant; Financial;                             Collateral
                Misleading; Misstates documents;
                Prejudicial; Vague

18:24   19:04   Collateral; Counsel; Irrelevant;              32:23-33:5                Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Misstates documents;                                        Collateral
                Prejudicial; Vague
19:10   19:21   19:10-17                                      35:16-19                  Irrelevant; Cumulative; Prejudicial; Misleading;
                Collateral; Irrelevant; Misleading;                                     Collateral
                Prejudicial; Speculation; Vague
                19:18-21
                Collateral; Counsel; Irrelevant;
                Prejudicial


20:02   20:21                                                 34:13-21                  Irrelevant; Cumulative; Prejudicial; Misleading;
                                                                                        Collateral
22:11   22:16   Irrelevant; Collateral; Prejudicial;          35:8-13                   Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Facts; Speculation; Vague                                   Collateral

22:21   23:05   Irrelevant; Collateral; Prejudicial;          38:13-23                  Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Compound; Facts;                                            Collateral
                Speculation; Vague

23:15   23:18   Irrelevant; Collateral; Prejudicial;          40:18                     Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Compound; Facts;                                            Collateral
                Foundation; Speculation; Vague

24:01   24:10   Irrelevant; Collateral; Prejudicial;          40:21-22                  Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Facts; Speculation; Vague                                   Collateral

24:15   24:18   Irrelevant; Collateral; Prejudicial;          42:12-14                  Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Facts; Speculation; Vague                                   Collateral

24:23   25:13   24:23-24                                      47:21-48:1                Irrelevant; Cumulative; Prejudicial; Misleading;
                Argumentative; Vague                                                    Collateral
                25:1
                Collateral; Hearsay; Irrelevant;
                Misleading; Prejudicial; W/in
                25:6-7
                Counsel
                25:9-13




                Collateral; Hearsay; Irrelevant;                                        Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Prejudicial; Vague                                          Collateral
25:24   26:19   26:2-19                                       52:3-12                   Irrelevant; Cumulative; Prejudicial; Misleading;
                Irrelevant; Collateral; Prejudicial;                                    Collateral
                Misleading; Hearsay; Misstates
                documents; Speculation; Vague

27:03   27:13   Irrelevant; Collateral; Prejudicial; 52:14-20                           Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Compound; Hearsay; Vague                                    Collateral
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28:21   30:02   28:21-29:15                          56:22-57:1                         Irrelevant; Cumulative; Prejudicial; Misleading;
                Irrelevant; Collateral; Prejudicial;                                    Collateral
                Misleading; Compound; Hearsay; Vague
                29:16-19
                Argumentative; Collateral; Counsel;
                Irrelevant; Misleading; Prejudicial;
                Vague
                29:21-30:2
                Collateral; Irrelevant; Misleading;
                Prejudicial; Vague



30:09   30:17   Irrelevant; Collateral; Prejudicial;    64:9-17                         Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Vague                                                       Collateral
31:05   31:18   Irrelevant; Collateral; Prejudicial;    70:15-20                        Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Incomplete; Inadequate;                                     Collateral
                Vague
32:07   32:22   Irrelevant; Collateral; Prejudicial;    112:23-113:3                    Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Misstates testimony;                                        Collateral
                Speculation; Vague

33:10   33:15   Irrelevant; Collateral; Prejudicial;   113:15-18                        Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Counsel; Inadequate; Vague                                  Collateral

33:20   33:22   Collateral; Inadequate; Irrelevant;     114:4-17                        Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Prejudicial; Vague                                          Collateral

34:04   34:12   Irrelevant; Collateral; Prejudicial;    115:9-11                        Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Vague                                                       Collateral
36:20   37:01   Irrelevant; Collateral; Prejudicial;    119:24-120:20                   Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Inadequate; Vague                                           Collateral

37:19   38:12   Irrelevant; Collateral; Prejudicial;    121:8-13                        Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Speculation; Vague                                          Collateral

39:03   40:04   39:3-40:1                               122:8-16                        Irrelevant; Cumulative; Prejudicial; Misleading;
                Irrelevant; Collateral; Prejudicial;                                    Collateral
                Misleading; Incomplete; Misstates
                testimony; Vague
                40:2
                Collateral; Hearsay; Irrelevant;
                Misleading; Prejudicial; W/in


40:24   41:08   Irrelevant; Collateral; Prejudicial;    128:20-129:2                    Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Hearsay; W/in                                               Collateral

41:24   42:11   Irrelevant; Collateral; Prejudicial;    129:4-6                         Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Foundation; Hearsay; W/in                                   Collateral

42:15   43:04   Collateral; Foundation; Hearsay;        129:11-14                       Irrelevant; Cumulative; Prejudicial; Misleading;
                Irrelevant; Misleading; Prejudicial;                                    Collateral
                Speculation; Unrelated; W/in

43:08   43:22   Irrelevant; Collateral; Prejudicial;    130:17-131:1                    Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Foundation; Hearsay;                                        Collateral
                Speculation; W/in

44:05   44:07   Irrelevant; Collateral; Prejudicial;    132:18-21                       Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Foundation; Hearsay;                                        Collateral
                Speculation; Vague

45:13   46:06   Irrelevant; Collateral; Prejudicial;    139:2 starts with “Well”-3      Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Foundation; Hearsay;                                        Collateral
                Misstates documents; Speculation

46:13   46:23   Irrelevant; Collateral; Prejudicial;    150:4-9                         Irrelevant; Cumulative; Prejudicial; Misleading;
                Misleading; Foundation; Hearsay;                                        Collateral
                Speculation; W/in

48:02   50:24   48:16-19                                154:1-6                         Irrelevant; Cumulative; Prejudicial; Misleading;
                Irrelevant; Collateral; Prejudicial;                                    Collateral
                Misleading; Vague
                48:17
                Counsel
                48:21-49:4
                Irrelevant; Collateral; Prejudicial;
                Misleading; Speculation; Facts; Vague
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                  48:23
                  Counsel
                  49:6-9
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Speculation; Facts; Vague
                  49:8
                  Counsel
                  49:20-50:7
                  Irrelevant; Collateral; Prejudicial;
                  Misleading
                  50:24-51:13
                  Collateral; Irrelevant; Misleading;
                  Prejudicial; Vague
                  51:14-18
                  Collateral; Counsel; Facts; Irrelevant;
                  Misleading; Prejudicial




56:13    56:19    Collateral; Irrelevant; Prejudicial;      155:18-156:2                  Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Hearsay                                                     Collateral

58:04    58:19    Collateral; Irrelevant; Prejudicial;      157:8-21                      Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Hearsay                                                     Collateral

59:01    59:23    Collateral; Irrelevant; Prejudicial;      158:5-16                      Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Hearsay                                                     Collateral

60:10    60:14    Collateral; Irrelevant; Prejudicial;     161:24-162:1                   Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Hearsay; Misstates testimony                                Collateral
                  60:12
                  Counsel


60:21    61:01    Collateral; Irrelevant; Prejudicial;      165:4-12                      Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Hearsay                                                     Collateral

61:09    61:11    Irrelevant; Collateral; Prejudicial;      170:8-13                      Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Hearsay                                                     Collateral

61:16    62:02    Irrelevant; Collateral; Prejudicial;      174:4-6                       Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Hearsay                                                     Collateral

62:09    62:14    Irrelevant; Collateral; Prejudicial;      175:21-22;                    Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Speculation                   175:24-176:4                  Collateral

63:08    64:08    Irrelevant; Collateral; Prejudicial;      189:16-18                     Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Hearsay                                                     Collateral

66:03    66:10    Collateral; Misleading; Vague             197:19-22                     Irrelevant; Cumulative; Prejudicial; Misleading;
                  66:8                                                                    Collateral
                  Counsel


69:07    70:14    69:7-18                                   204:8-10                      Irrelevant; Cumulative; Prejudicial; Misleading;
                  Collateral; Facts; Misleading                                           Collateral
                  69:15
                  Counsel
                  69:20-70:14
                  Misleading; Facts; Speculation; Calls for
                  Legal Conclusion; Collateral; Irrelevant
                  69:21
                  Counsel




112:15   112:22                                             204:16-23                     Irrelevant; Cumulative; Prejudicial; Misleading;
                                                                                          Collateral
113:06   113:14   Collateral; Irrelevant; Misleading;       214:15-215:6                  Irrelevant; Cumulative; Prejudicial; Misleading;
                  Prejudicial                                                             Collateral
                  113:7-8
                  Counsel

113:19   114:03   Collateral; Counsel; Irrelevant;          225:14-17                     Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Prejudicial                                                 Collateral
114:18   114:21   Collateral; Irrelevant; Misleading;       225:21-24                     Irrelevant; Cumulative; Prejudicial; Misleading;
                  Prejudicial                                                             Collateral
115:01   115:08   Collateral; Irrelevant; Misleading;       236:18-21                     Irrelevant; Cumulative; Prejudicial; Misleading;
                  Prejudicial                                                             Collateral
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119:10   119:23   Irrelevant; Collateral; Prejudicial;   242:4-7                          Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading                                                              Collateral
121:14   122:07   Irrelevant; Collateral; Prejudicial;   242:13-18                        Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Unrelated; AER                                              Collateral

122:17   122:22   Irrelevant; Collateral; Prejudicial;   246:15-17                        Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Unrelated; AER                                              Collateral

123:05   123:13   Irrelevant; Collateral; Prejudicial;   248:2-15                         Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; AER; Unrelated                                              Collateral

124:20   126:05   124:20-125:9                           255:13-23                        Irrelevant; Cumulative; Prejudicial; Misleading;
                  Irrelevant; Collateral; Prejudicial;                                    Collateral
                  Misleading; AER; Speculation;
                  Unrelated; Argumentative
                  124:22, 125:2, 125:8
                  Counsel
                  125:10-126:5
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Unrelated; AER




126:10   126:24   Irrelevant; Collateral; Prejudicial;   268:16-18                        Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Unrelated; AER                                              Collateral

127:22   128:07   Irrelevant; Collateral; Prejudicial;   271:14-17                        Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Unrelated; AER                                              Collateral
                  128:1
                  Counsel


129:08   129:10   Irrelevant; Collateral; Prejudicial;   272:14-275:22                    Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Unrelated; AER                                              Collateral

129:!6   130:16   129:16-130:3                           276:3-285:1                      Irrelevant; Cumulative; Prejudicial; Misleading;
                  Irrelevant; Collateral; Prejudicial;                                    Collateral
                  Misleading; Unrelated; AER
                  130:4-16
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Foundation



131:18   132:!7   131:18-132:10                          285:3-287:9                      Irrelevant; Cumulative; Prejudicial; Misleading;
                  Irrelevant; Collateral; Prejudicial;                                    Collateral
                  Misleading
                  132:7
                  Counsel
                  132:11-17


                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Vague
                  132:12
                  Counsel

132:22   133:01   Irrelevant; Collateral; Prejudicial;   288:7-296:12                     Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading                                                              Collateral
139:04   139:!5   Irrelevant; Collateral; Prejudicial;   296:14-298:8                     Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Compound                                                    Collateral

140:02   140:20   Irrelevant; Collateral; Prejudicial;   298:10-299:6                     Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading                                                              Collateral

141:06   143:04   Irrelevant; Collateral; Prejudicial;   299:8-303:22                     Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading                                                              Collateral
                  142:11
                  Counsel

143:24   144:08   Collateral; Irrelevant; Misleading;    314:20-315:17                    Irrelevant; Cumulative; Prejudicial; Misleading;
                  Prejudicial; Vague                                                      Collateral
144:24   145:05   Irrelevant; Collateral; Prejudicial;   315:22-23                        Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; W/in                                                        Collateral
145:20   147:04   145:20-146:5                           316:1-317:2                      Irrelevant; Cumulative; Prejudicial; Misleading;
                  Irrelevant; Collateral; Prejudicial;                                    Collateral
                  Misleading; W/in
                  146:4
                  Counsel
                  146:6-147:4
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Vague
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147:20   148:01   Irrelevant; Collateral; Prejudicial;     319:19-321:6                   Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Speculation; Facts                                          Collateral
                  147:23
                  Counsel


148:07   148:09   Irrelevant; Collateral; Prejudicial;       324:11-325:17                Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading; Speculation; Facts                                          Collateral
                  148:12-13
                  Collateral; Facts; Irrelevant; Misleading;
                  Prejudicial; Speculation



148:18   148:23   Irrelevant; Collateral; Prejudicial;     325:19-20                      Irrelevant; Cumulative; Prejudicial; Misleading;
                  Misleading                                                              Collateral
149:02   149:04   Irrelevant; Collateral; Prejudicial;
                  Misleading
149:16   149:22   Irrelevant; Collateral; Prejudicial;
                  Misleading
150:10   150:11
152:09   153:22   Irrelevant; Collateral; Prejudicial;
                  Misleading; Incomplete

154:09   154:24   Irrelevant; Collateral; Prejudicial;
                  Misleading; Misstates documents;
                  Incomplete
                  154:13
                  Counsel


155:10   155:17   Irrelevant; Collateral; Prejudicial;
                  Misleading; Compound

156:03   156:05   Irrelevant; Collateral; Prejudicial;
                  Misleading
156:09   156:10   Irrelevant; Collateral; Prejudicial;
                  Misleading
156:21   157:05   Irrelevant; Collateral; Prejudicial;
                  Misleading
157:22   158:03   Irrelevant; Collateral; Prejudicial;
                  Misleading; Facts
                  157:23, 158:2
                  Counsel

159:16   161:23   Irrelevant; Collateral; Prejudicial;
                  Misleading; Speculation
                  160:3
                  Counsel


162:08   165:03   162:8-163:22
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Counsel
                  163:23-165:3
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Facts; Speculation



                  163:24
                  Counsel


165:13   166:19   Irrelevant; Collateral; Prejudicial;
                  Misleading

167:16   169:08   Irrelevant; Collateral; Prejudicial;
                  Misleading
                  168:15-17
                  Counsel

169:13   170:07   Irrelevant; Collateral; Prejudicial;
                  Misleading
170:14   170:16   Collateral; Irrelevant; Misleading;
                  Prejudicial
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171:09   171:23        171:9-17
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                       Misleading
                       171:18-23
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                       Misleading; Speculation; Vague
                       171:22
                       Counsel



172:03   173:11        Irrelevant; Collateral; Prejudicial;
                       Misleading; Speculation; Vague
                       172:6, 16
                       Counsel


173:24   174:03        Irrelevant; Collateral; Prejudicial;
                       Misleading
174:07   174:16        Irrelevant; Collateral; Prejudicial;
                       Misleading; Speculation

175:09   175:16        Irrelevant; Collateral; Prejudicial;
                       Misleading
176:06   176:13        Irrelevant; Collateral; Prejudicial;
                       Misleading; Compound
                       176:10
                       Counsel


177:01   177:04        Irrelevant; Collateral; Prejudicial;
                       Misleading; Speculation; Foundation

178:03   178.18        Irrelevant; Collateral; Prejudicial;
                       Misleading; Speculation; Foundation
                       178:11
                       Counsel


178:23   179:13        Irrelevant; Collateral; Prejudicial;
                       Misleading
180:10   183:07        180:10-181:10
         “Number 23”   Irrelevant; Collateral; Prejudicial;
                       Misleading
                       181:11-17
                       Irrelevant; Collateral; Prejudicial;
                       Misleading; Misstates documents
                       181:16
                       Counsel
                       181:18-183:4
                       Irrelevant; Collateral; Prejudicial;
                       Misleading
                       182:18
                       Counsel




183”22   187:09        183:22-185:3
                       Irrelevant; Collateral; Prejudicial;
                       Misleading
                       185:4-7
                       Irrelevant; Collateral; Prejudicial;
                       Misleading; Speculation; Foundation;
                       Argumentative; Vague
                       185:5
                       Counsel
                       185:8-186:2
                       Irrelevant; Collateral; Prejudicial;
                       Misleading
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                      186:3-14
                      Irrelevant; Collateral; Prejudicial;
                      Misleading; Argumentative
                      186:4, 17
                      Counsel
                      186:15-187:6
                      Collateral; Irrelevant Prejudicial;
                      Misleading
                      187:7-9
                      Irrelevant; Collateral; Prejudicial;
                      Misleading; Speculation; Foundation;
                      Facts




187:21       189:15   187:21-188:5
                      Irrelevant; Collateral; Prejudicial;
                      Misleading; Speculation; Foundation
                      188:6-12
                      Irrelevant; Collateral; Prejudicial;
                      Misleading; Speculation; Foundation;
                      Facts
                      188:9
                      Counsel
                      188:13-24
                      Irrelevant; Collateral; Prejudicial;
                      Misleading
                      189:1-15
                      Irrelevant; Collateral; Prejudicial;
                      Misleading
                      189:6, 9-10
                      Counsel




189:19       192:18   189:19-191:20
                      Irrelevant; Collateral; Prejudicial;
                      Misleading
                      191:21-192:18
                      Irrelevant; Collateral; Prejudicial;
                      Misleading; Vague
                      191:23, 192:2
                      Counsel


194:14       195:16   Irrelevant; Collateral; Prejudicial;
                      Misleading
    195:20   197:18   195:20-196:10
                      Irrelevant; Collateral;
                      Prejudicial; Misleading
                      196:11-17
                      Irrelevant; Collateral;
                      Prejudicial; Misleading; Facts;
                      Speculation
                      196:14
                      Counsel
                      196:19-197:18
                      Irrelevant; Collateral;
                      Prejudicial; Misleading
                      196:23-24
                      Counsel
197:23       198:01   Irrelevant; Collateral; Prejudicial;
                      Misleading
198:06       198:08   Irrelevant; Collateral; Prejudicial;
                      Misleading; Foundation

199:02       199:04   Irrelevant; Collateral; Prejudicial;
                      Misleading; Foundation; Speculation

199:16       201:07   199:16-200:4
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                      200:5-7
                      Irrelevant; Collateral;
                      Prejudicial; Misleading; Vague;
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                  Facts
                  200:6
                  Counsel
                  200:8-201:7
                  Collateral; Irrelevant;
                  Misleading; Prejudicial
201:10   204:07   201:10-202:20
                  Irrelevant; Collateral; Prejudicial;
                  Misleading
                  202:21-24
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                  Misleading; Foundation; Speculation
                  202:23
                  Counsel
                  203:1-204:3
                  Irrelevant; Collateral; Prejudicial;
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                  Counsel
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204:11   204:15   Irrelevant; Collateral; Prejudicial;
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                  Misleading
                  205:3-16
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                  Misleading; Claims
205:19   206:01   Irrelevant; Collateral; Prejudicial;
                  Misleading; Claims
206:10   207:03   Irrelevant; Collateral; Prejudicial;
                  Misleading; Claims
207:21   209:18   207:21-208:11
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Unrelated; AER
                  208:8
                  Counsel
                  208:12-17



                  Irrelevant; Collateral; Prejudicial;
                  Misleading
                  208:14
                  Counsel
                  208:18-209:18
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Unrelated; AER; Claims



209:23   209:24   Irrelevant; Collateral; Prejudicial;
                  Misleading
210:08   210:21   Irrelevant; Collateral; Prejudicial;
                  Misleading; Foundation; Speculation;
                  Facts
                  210:20
                  Counsel

211:11   211:12   Irrelevant; Collateral; Prejudicial;
                  Misleading
211:20   212:04   Irrelevant; Collateral; Prejudicial;
                  Misleading
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212:08   212:23   212:8-16
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                  Misleading; AER
                  212:11
                  Counsel
                  212:17-23
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Foundation; Misstates
                  documents
                  213:22
                  Counsel




213:03   213:21   Irrelevant; Collateral; Prejudicial;
                  Misleading; Foundation; Misstates
                  documents; AER
                  213:8, 20
                  Counsel


214:02   214:14   Irrelevant; Collateral; Prejudicial;
                  Misleading;
                  Foundation; Misstates documents
                  214:3
                  Counsel


215:08   216:08   215:8-12
                  Irrelevant; Collateral;
                  Prejudicial; Misleading;
                  Foundation; Misstates
                  documents
                  215:11
                  Counsel
                  215:13-18
                  Irrelevant; Collateral;
                  Prejudicial; Misleading;
                  Foundation; Misstates
                  documents
                  215:17
                  Counsel
                  215:19-216:8
                  Irrelevant; Collateral;
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216:24   217:04   Irrelevant; Collateral; Prejudicial;
                  Misleading; Foundation; AER; Facts

217:11   217:20   Irrelevant; Collateral; Prejudicial;
                  Misleading; Foundation; Compound;
                  Counsel

218:15   220:10   218:15-219:14
                  Irrelevant; Collateral;
                  Prejudicial; Misleading;
                  Foundation; AER; Speculation;
                  Compound
                  218:20
                  Counsel
                  219:15-220:3
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                  Misleading; Vague; Facts
                  219:17
                  Counsel
                  220:4-10
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                  Misleading; Vague; Facts; AER;
                  Unrelated



221:08   221:19   Irrelevant; Collateral; Prejudicial;
                  Misleading; Facts; AER; Incomplete;
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222:07   222:09   Irrelevant; Collateral; Prejudicial;
                  Misleading; Foundation; Speculation

223:08   223:21   Collateral; Irrelevant; Misleading;
                  Prejudicial; Speculation; Vague

224:05   225:13   Irrelevant; Collateral; Prejudicial;
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226:12   226:20   226:12-16
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                  226:19
                  Counsel



227:07   228:16   227:7-17
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                  Misleading; Foundation; Speculation;
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                  227:18-228:16
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                  227:20, 228:1
                  Counsel




228:24   229:12   228:24-229:12
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                  Misleading; Facts; Argumentative
                  229:2
                  Counsel


229:22   230:11   Irrelevant; Collateral; Prejudicial;
                  Misleading; Speculation; Hearsay;
                  Foundation

230:17   231:10   Irrelevant; Collateral; Prejudicial;
                  Misleading; Speculation; Foundation

231:22   232:10   Irrelevant; Collateral; Prejudicial;
                  Misleading; Speculation; Foundation;
                  AER
232:20   233:01   Irrelevant; Collateral; Prejudicial;
                  Misleading; Speculation; Foundation

233:12   233:14   Irrelevant; Collateral; Prejudicial;
                  Misleading
233:20   233:22   Irrelevant; Collateral; Prejudicial;
                  Misleading
235:04   236:04   Irrelevant; Collateral; Prejudicial;
                  Misleading; Speculation; Foundation;
                  Vague
236:11   236:17   Irrelevant; Collateral; Prejudicial;
                  Misleading; Speculation; Foundation

236:22   237:02   Irrelevant; Collateral; Prejudicial;
                  Misleading; Speculation; Foundation

237:12   237:22   Irrelevant; Collateral; Prejudicial;
                  Misleading;
                  Speculation; Foundation
238:03   238:06   Irrelevant; Collateral; Prejudicial;
                  Misleading
238:10   238:12   Irrelevant; Collateral; Prejudicial;
                  Misleading

239:13   241:10   239:13-241:5
                  Irrelevant; Collateral; Prejudicial;
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                  Speculation
                  241:6-10
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                  Irrelevant; Collateral; Prejudicial;
                  Misleading; AER; Unrelated; Hearsay
                  240:7-8
                  Counsel 240:19
                  Counsel


241:23   242:03   Irrelevant; Collateral; Prejudicial;
                  Misleading; AER
242:08   242:11   Irrelevant; Collateral; Prejudicial;
                  Misleading; AER
244:20   244:24   Irrelevant; Collateral; Prejudicial;
                  Misleading
245:10   245:17   Irrelevant; Collateral; Prejudicial;
                  Misleading
245:23   246:14   Irrelevant; Collateral; Prejudicial;
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247:03   248:01   247:3-9
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                  Prejudicial; Misleading; Facts;
                  Misstates documents;
                  Unrelated; AER
                  247:10-248:1
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                  Prejudicial; Misleading;
                  Unrelated; AER; Hearsay; W/in
                  247:6
                  Counsel
248:16   249:04   248:18-249:4
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Hearsay; W/in
                  248:21
                  Counsel

250:10   250:23   Irrelevant; Collateral; Prejudicial;
                  Misleading
251:09   252:02   Irrelevant; Collateral; Prejudicial;
                  Misleading
252:07   253:02   252:7-12
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Misstates Testimony; 252:10
                  Counsel


                  252:13-253:2
                  Irrelevant; Collateral; Prejudicial;
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                  Counsel

253:06   253:07   Irrelevant; Collateral; Prejudicial;
                  Misleading
253:20   254:06   Irrelevant; Collateral; Prejudicial;
                  Misleading Hearsay; W/in

254:11   254:22   Irrelevant; Collateral; Prejudicial;
                  Misleading Hearsay; W/in

255:24   257:11   Irrelevant; Collateral; Prejudicial;
                  Misleading Hearsay; W/in

257:14   258:08   Irrelevant; Collateral; Prejudicial;
                  Misleading; Hearsay; W/in

258:13   259:08   Irrelevant; Collateral; Prejudicial;
                  Misleading; Hearsay; W/in

259:14   261:04   259:14-21
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Hearsay; W/in
                  259:18
                  Counsel 259:22-216:4
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Hearsay; W/in; Speculation;
                  Facts; AER
                  260:1
                  Counsel
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261:07         262:03        Irrelevant; Collateral; Prejudicial;
                             Misleading; Hearsay; W/in

262:07         263:04        Irrelevant; Collateral; Prejudicial;
                             Misleading; Hearsay; W/in; Speculation;
                             Facts; AER; Foundation;

263:13         266:09        263:13-264:18
                             Irrelevant; Collateral; Prejudicial;
                             Misleading; Hearsay; W/in; Facts

                             263:17
                             Counsel
                             264:19-24
                             Irrelevant; Collateral; Prejudicial;
                             Misleading; Foundation; Lay;
                             Speculation
                             264:21
                             Counsel
                             265:1-15
                             Irrelevant; Collateral; Prejudicial;
                             Misleading; Speculation; W/in; Hearsay
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                             Misleading; Foundation; Lay;
                             Speculation
                             265: 18
                             Counsel
                             265:23-266:9
                             Irrelevant; Collateral; Prejudicial;
                             Misleading; Hearsay; Speculation; Facts;
                             Foundation
                             266:1, 5
                             Counsel




266:21         268:14        266:21-268:8
                             Irrelevant; Collateral; Prejudicial;
                             Misleading; Hearsay; W/in
                             268:9-14
                             Irrelevant; Collateral; Prejudicial;
                             Misleading; Hearsay; W/in; Facts
                             Irrelevant; Collateral; Prejudicial;
                             Misleading



268:22         269:01        Irrelevant; Collateral; Prejudicial;
                             Misleading
269:05         271:13        269:5-15
                             Irrelevant; Collateral; Prejudicial;
                             Misleading; Hearsay; W/in
                             269:16-271:13
                             Irrelevant; Collateral; Prejudicial;
                             Misleading; Vague; Facts; Speculation;
                             Hearsay; AER; Claims
                             269:17
                             Counsel




                                                               Deposition of:   Dale Klous
                                                              Taken On:       April 16, 2019
                                                               PLAINTIFF’S DESIGNATIONS
                                         This witness is not available to testify live & will be called by videotaped deposition.

   Start -       Finish –     Defendants' Objections                             Defendants' Counter                            Plaintiff's Objections to
   Page/Line     Page/Line                                                           Designations                          Defendants' Counter Designations
10:24            11:02                                                  11:3-9                                 Irrelevant; Cumulative; Prejudicial; Misleading; Collateral

15:09            15:11                                                  15:3 starts with “Mr.” – 8             Irrelevant; Cumulative; Prejudicial; Misleading; Collateral

24:22            25:01                                                  35:16-36:5                             Irrelevant; Cumulative; Prejudicial; Misleading; Collateral

27:05            27:08                                                  36:10-14                               Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
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38:06 “Just”   38:17    Irrelevant; Collateral; Prejudicial;        36:23-37:10                      Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading
                                                                    39:1-20                          Irrelevant; Cumulative; Prejudicial; Misleading; Collateral

40:08 “You”    40:15    Irrelevant; Collateral; Prejudicial;        41:5-24                          Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading
40:24          41:04                                                89:23-90:8                       Irrelevant; Cumulative; Prejudicial; Misleading; Collateral

112:15         113:04   Irrelevant; Collateral; Prejudicial;        90:15-91:1                       Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading
127:03         127:11   Irrelevant; Collateral; Prejudicial;        91:3-7                           Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
“Prior”                 Misleading
144:22         145:06   Irrelevant; Collateral; Prejudicial;        91:17-24                         Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Cumulative

145:18         146:02   Irrelevant; Collateral; Prejudicial;        92:2                             Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Counsel

146:17 “So’    146:20   Irrelevant; Collateral; Prejudicial;        92:4-93:5                        Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Counsel; Misleading

147:02         147:08   Irrelevant; Collateral; Prejudicial;        113:18-114:7                     Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Cumulative; Unrelated;
                        Vague; Unrelated; Facts

147:10         147:10   Irrelevant; Collateral; Prejudicial;        127:12-15                        Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Cumulative; Unrelated;
                        Vague; Unrelated; Facts

147:12         152:17   Irrelevant; Collateral; Prejudicial;        127:17-24                        Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Cumulative; Unrelated;
                        Vague; Unrelated; Facts

154:21         155:24   Irrelevant; Collateral; Prejudicial;        128:6-24 through “manuscripts”   Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Cumulative; Unrelated;
                        Vague; Facts

156:06         156:09   Irrelevant; Collateral; Prejudicial;        157:1-6                          Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Cumulative; Facts

156:20         156:20   Irrelevant; Collateral; Prejudicial;        164:24-165:1                     Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Cumulative; Facts

156:24         156:24   Irrelevant; Collateral; Prejudicial;        167:17-168:13                    Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Cumulative; Unrelated;
                        Facts; Incomplete

157:07         157:22   Irrelevant; Collateral; Prejudicial;        182:8-14                         Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Cumulative; Unrelated;
                        Facts; Incomplete

159:18         160:02   Irrelevant; Collateral; Prejudicial;        184:19-20                        Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Cumulative; Facts;
                        Unrelated
160:14         160:16   Irrelevant; Collateral; Prejudicial;        185:1-2                          Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading
164:17         164:19   Irrelevant; Collateral; Prejudicial;        186:21-187:15                    Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Incomplete

164:21         164:23   Irrelevant; Collateral; Prejudicial;        187:19-188:4                     Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Incomplete

166:17 “You”   167:01   Irrelevant; Collateral; Prejudicial         193:1 starts with                Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                                                                    “comments” – 3
169:19         169:22   Irrelevant; Collateral; Prejudicial         195:19-24                        Irrelevant; Cumulative; Prejudicial; Misleading; Collateral


177:15         177:23   Irrelevant; Collateral; Prejudicial;        211:1 starts with “in” – 3       Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Facts; Counsel                  through “digits 921”

178:24         179:12   Irrelevant; Collateral; Prejudicial;        211:7-9                          Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Counsel; Hearsay

179:15         179:16   Irrelevant; Collateral; Prejudicial;        214:5-19 through “right”         Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Counsel; Hearsay

179:23         180:08   Irrelevant; Collateral; Prejudicial;        217:4-6                          Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                        Misleading; Hearsay

181:14         181:14   Irrelevant; Prejudicial; Part               217:8-13                         Irrelevant; Cumulative; Prejudicial; Misleading; Collateral

182:03         182:07   Irrelevant; Collateral; Prejudicial; Part   217:15-218:5                     Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
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184:01         184:06     Irrelevant; Collateral; Prejudicial; Part   218:7-8                         Irrelevant; Cumulative; Prejudicial; Misleading; Collateral

184:10         184:18     Irrelevant; Collateral; Prejudicial;   220:18-23 through “Sure.”            Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Part; Counsel; Incomplete;
                          Hearsay
184:21         184:24     Irrelevant; Collateral; Prejudicial;   223:3-9                              Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Part; Counsel; Incomplete;
                          Hearsay
185:04 “If”    186:20     Irrelevant; Collateral; Prejudicial;        226:6-13                        Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Part; Hearsay

188:10         188:16     Irrelevant; Collateral; Prejudicial;        227:18-19                       Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading
192:24         193:01     Irrelevant; Prejudicial; Incomplete         231:11 starts with “Is” – 15    Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
               “now”
194:04 “At”    194:11     Irrelevant; Collateral; Prejudicial         238:8-10                        Irrelevant; Cumulative; Prejudicial; Misleading; Collateral

195:01         195:18     Irrelevant; Collateral; Prejudicial;    239:23-240:1                        Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Counsel; Facts; Incomplete;
                          Foundation; Hearsay

210:23         211:01     Irrelevant; Collateral; Prejudicial;        241:16-22                       Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
               “number”   Incomplete
211:03 “The”   211:06     Irrelevant; Collateral; Prejudicial;        242:1-6                         Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Incomplete
212:17 “So”    212:24     Irrelevant; Collateral; Prejudicial;        244:9-12                        Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Hearsay; W/in

214:19 “If”    215:06     Irrelevant; Collateral; Prejudicial;        244:14-16                       Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Hearsay; W/in

216:03         217:03     Irrelevant; Collateral; Prejudicial;        245:23-246:2                    Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
“After”                   Misleading; Foundation; Hearsay

220:23 “But”   221:02     Irrelevant; Collateral; Prejudicial         246:4                           Irrelevant; Cumulative; Prejudicial; Misleading; Collateral

221:09 “A”     221:16     Irrelevant; Collateral; Prejudicial         246:22-247:2                    Irrelevant; Cumulative; Prejudicial; Misleading; Collateral

222:24         223:02     Irrelevant; Collateral; Prejudicial;        247:4                           Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Foundation

224:05         224:17     Irrelevant; Collateral; Prejudicial;  252:7 starts with “The” – 12          Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Foundation; Hearsay; W/in

225:02         225:05     Irrelevant; Collateral; Prejudicial;  254:21-255:14                         Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Foundation; Hearsay; W/in

225:07         225:09     Irrelevant; Collateral; Prejudicial;  255:16-256:1                          Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Foundation; Hearsay; W/in

225:11         226:05     Irrelevant; Collateral; Prejudicial;   259:24-260:9                         Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Foundation; Hearsay; W/in;
                          Counsel; Incomplete

227:02         227:07     Irrelevant; Collateral; Prejudicial;        262:12-19                       Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Facts
227:09         227:09     Irrelevant; Collateral; Prejudicial;        267:23-268:6                    Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Facts
227:11         227:14     Irrelevant; Collateral; Prejudicial;        268:8-10                        Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Facts
227:16         227:16     Irrelevant; Collateral; Prejudicial;        277:14-20                       Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Facts
228:04         228:11     Irrelevant; Collateral; Prejudicial;        277:22-278:14                   Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Hearsay; W/in

230:04         230:14     Irrelevant; Collateral; Prejudicial;  312:7-15                              Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Foundation; Hearsay; W/in

230:16         230:16     Irrelevant; Collateral; Prejudicial;  314:5-9                               Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Foundation; Hearsay; W/in

230:18         231:11     Irrelevant; Collateral; Prejudicial;   316:2 starts with “Let” – 6          Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
               “issue.”   Misleading; Foundation; Hearsay; W/in;
                          Incomplete

231:16         231:19                                                 319:17 starts with “But” – 21   Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
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232:02        232:12      Irrelevant; Collateral; Prejudicial;     345: 24 starts with “But” –   Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Hearsay; W/in                346:3

238:02 “If”   238:07      Irrelevant; Collateral; Prejudicial;     350:7-15                      Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Vague; Hearsay; W/in

238:11        238:15      Irrelevant; Collateral; Prejudicial;  351:20-352:11                    Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Foundation; Hearsay; W/in


239:07        239:22      Irrelevant; Collateral; Prejudicial;   356:10-16                       Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Foundation; Hearsay; W/in;
                          Cumulative; Counsel

240:02        240:05      Irrelevant; Collateral; Prejudicial;     375:16-377:3                  Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Hearsay

240:09        240:09      Irrelevant; Collateral; Prejudicial;     378:20-379:2                  Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Hearsay

240:12        241:03      Irrelevant; Collateral; Prejudicial;     379:4-10                      Irrelevant; Cumulative; Prejudicial; Misleading; Collateral
                          Misleading; Hearsay; W/in

241:07        241:11      Irrelevant; Collateral; Prejudicial;
                          Misleading; Foundation; Hearsay; W/in;
                          Counsel

241:13        241:14      Irrelevant; Collateral; Prejudicial;
                          Misleading; Foundation; Hearsay; W/in;
                          Counsel

244:03        244:08      Irrelevant; Collateral; Prejudicial;
                          Misleading; Vague; Hearsay; W/in

244:18        245:01      Irrelevant; Collateral; Prejudicial;
                          Misleading; Unrelated; Cumulative;
                          Hearsay; Counsel

245:02        245:05      Irrelevant; Collateral; Prejudicial;
“Further”                 Misleading; Unrelated; Cumulative;
                          Hearsay; Counsel

245:11        245:15      Irrelevant; Collateral; Prejudicial;
                          Misleading; Hearsay; W/in

245:20        245:22      Irrelevant; Collateral; Prejudicial

246:13        246:18      Irrelevant; Collateral; Prejudicial;
                          Misleading; Hearsay; W/in

246:20        246:20      Irrelevant; Collateral; Prejudicial;
                          Misleading; Hearsay; W/in

247:06        247:07      Irrelevant; Collateral; Prejudicial;
                          Misleading

247:09        247:09      Irrelevant; Collateral; Prejudicial;
                          Misleading
250:09        251:01      Irrelevant; Collateral; Prejudicial;
                          Misleading; Hearsay; W/in

251:11        251:22      Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel

252:02        252:07      Irrelevant; Collateral; Prejudicial;
              “Trials.”   Counsel; Incomplete

252:13        252:21      Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel

253:22        254:03      Irrelevant; Collateral; Prejudicial;
                          Misleading
254:12 “It”   254:20      Irrelevant; Collateral; Prejudicial;
                          Misleading
256:02        256:13      Irrelevant; Collateral; Prejudicial;
                          Misleading
259:20        259:23      Irrelevant; Collateral; Prejudicial;
                          Misleading
260:10        261:10      Irrelevant; Collateral; Prejudicial;
                          Misleading; Counsel

262:24        263:05      Irrelevant; Collateral; Prejudicial

264:10        264:15      Irrelevant; Collateral; Prejudicial;
                          Misleading
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274:17 “The”     275:17        Irrelevant; Collateral; Prejudicial;
                               Misleading; Cumulative; Foundation

280:01           280:05        Irrelevant; Collateral; Prejudicial;
                               Misleading; Foundation; Counsel;
                               Argumentative

280:07           280:08        Irrelevant; Collateral; Prejudicial;
                               Misleading; Foundation; Counsel;
                               Argumentative

309:22           310:10        Irrelevant; Collateral; Prejudicial

310:17           310:22        Irrelevant; Collateral; Prejudicial;
                               Hearsay; W/in

311:06           312:06        Irrelevant; Collateral; Prejudicial;
                               Misleading;
                               Foundation; Counsel; Hearsay; W/in;
                               Incomplete

313:22 “This”    314:01        Irrelevant; Collateral; Prejudicial;
                               Misleading;
                               Foundation; Counsel; Hearsay;
                               Incomplete
314:03           314:04        Irrelevant; Collateral; Prejudicial;
                               Misleading; Foundation; Counsel;
                               Hearsay; Incomplete

314:10           314:20        Irrelevant; Collateral; Prejudicial;
                               Misleading; Counsel; Argumentative;
                               Hypothetical

314:22           314:23        Irrelevant; Collateral; Prejudicial;
                               Misleading; Counsel; Argumentative;
                               Hypothetical

315:01           315:03        Irrelevant; Collateral; Prejudicial;
                               Misleading; Counsel; Hypothetical

315:12           315:18        Irrelevant; Collateral; Prejudicial;
                               Misleading; Counsel; Facts

315:20           315:20        Irrelevant; Collateral; Prejudicial;
                               Misleading; Counsel; Facts

315:24           316:02        Irrelevant; Collateral; Prejudicial;
                 “2012.”       Incomplete; Counsel

316:15 “If”      319:02        Irrelevant; Collateral; Prejudicial;
                               Misleading; Counsel; Facts; Foundation;
                               Speculation

319:04           319:04        Irrelevant; Collateral; Prejudicial;
                               Misleading; Counsel; Facts; Foundation;
                               Speculation

319:06           319:11        Irrelevant; Collateral; Prejudicial;
                               Misleading; Counsel; Misstates
                               Document; Incomplete

319:14           319:17        Irrelevant; Collateral; Prejudicial;
                 “unlikely”    Misleading; Counsel; Misstates
                               Document; Incomplete

345:19           345:24        Irrelevant; Collateral; Prejudicial;
                 “it.”         Incomplete; Counsel

347:10           349:14        Irrelevant; Collateral; Prejudicial;
                               Misleading; Foundation; Hearsay

                                         Deposition of:          James A. Schumer Taken On:                January 24, 2019
                                                                  PLAINTIFF’S DESIGNATIONS
                                         This witness is not available to testify live & will be called by videotaped deposition.

 Start -         Finish –      Defendants' Objections                         Defendants' Counter Designations                           Plaintiff's Objections to
 Page/Line       Page/Line                                                                                                          Defendants' Counter Designations
123:18          123:25        123:22-25                                128:3-7
                              Irrelevant; Collateral; Prejudicial;
                              Misleading; Speculation; Foundation

124:03          124:06        Irrelevant; Collateral; Prejudicial;     133:13 starts with “I”-133:17
                              Misleading; Speculation; Foundation

124:08          124:12        Irrelevant; Collateral; Prejudicial;     134:9-14                                            FDA; Misleading; Nonsresponsive; Prejudicial
                              Misleading
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124:16   124:19   Irrelevant; Collateral; Prejudicial;   134:18-24                          FDA; Misleading; Nonsresponsive; Prejudicial
                  Misleading
127:18   127:18                                          163:25-164:7
127:20   128:02   Irrelevant; Collateral; Prejudicial;   169:1-5                            Irrelevant
                  Hearsay
128:08   129:04   Irrelevant; Collateral; Prejudicial;   193:11-22                          Irrelevant; Speculative; Foundation; Misleading
                  Hearsay
129:18   131:17   Irrelevant; Collateral; Prejudicial;
                  Misleading; Counsel; Hearsay

133:02   133:13   133:2-3
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Hearsay; Incomplete

162:24   162:24
163:01   163:22   Irrelevant; Collateral; Prejudicial

164:08   165:13   Irrelevant; Collateral; Prejudicial

165:15   165:15   Irrelevant; Collateral; Prejudicial

165:17   166:03   Irrelevant; Collateral; Prejudicial;
                  Hearsay
166:21   166:21
166:23   167:25   Irrelevant; Collateral; Prejudicial;
                  Misleading; Cumulative; Hearsay

168:03   168:03   Irrelevant; Collateral; Prejudicial

168:15   168:25   Irrelevant; Collateral; Prejudicial;
                  Misleading; Cumulative; Hearsay

191:16   191:16
191:18   193:10   Irrelevant; Collateral; Prejudicial;
                  Misleading; Hearsay

194:15   194:15
194:17   195:16   194:17-19
                  Irrelevant; Collateral; Prejudicial;
                  Misleading; Counsel

195:22   196:04
199:15   201:07   Irrelevant; Collateral; Prejudicial;
                  Misleading;
201:12   201:23   Irrelevant; Collateral; Prejudicial;
                  Misleading
202:08   202:25   Irrelevant; Collateral; Prejudicial;
                  Misleading
203:03   203:03   Irrelevant; Collateral; Prejudicial;
                  Misleading
203:07   203:10   Irrelevant; Collateral; Prejudicial;
                  Misleading
203:12   203:18   Irrelevant; Collateral; Prejudicial;
                  Misleading
203:22   204:06   Irrelevant; Collateral; Prejudicial;
                  Misleading; Hypothetical; Facts

204:09   204:22   Irrelevant; Collateral; Prejudicial;
                  Misleading; Hypothetical; Facts

205:07   205:17
206:07   206:09
206:12   206:14
207:01   207:06
207:11   207:22
